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(Official Form 1) (10/05)                                                                 Pg 1 of 138
                                         United States Bankruptcy Court
                                                Southern District of New York                                                                        Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
  Platform Learning Inc.


All Other Names used by the Debtor in the last 8 years                                            All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                       (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                         Street Address of Joint Debtor (No. & Street, City, and State):
  55 Broad Street
  25th Floor
  New York, NY                                                                    ZIP Code                                                                                  ZIP Code
                                                                              10004
County of Residence or of the Principal Place of Business:                                        County of Residence or of the Principal Place of Business:
  New York
Mailing Address of Debtor (if different from street address):                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                  ZIP Code                                                                                  ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


Type of Debtor (Form of Organization)                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
               (Check one box)                            (Check all applicable boxes.)                                    the Petition is Filed (Check one box)
    Individual (includes Joint Debtors)               Health Care Business
                                                                                                      Chapter 7             Chapter 11            Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                Single Asset Real Estate as defined                                                         of a Foreign Main Proceeding
                                                      in 11 U.S.C. § 101 (51B)
    Partnership                                                                                       Chapter 9             Chapter 12            Chapter 15 Petition for Recognition
                                                      Railroad                                                                                    of a Foreign Nonmain Proceeding
    Other (If debtor is not one of the above
    entities, check this box and provide the          Stockbroker                                                   Chapter 13
    information requested below.)                     Commodity Broker
    State type of entity:
                                                      Clearing Bank                                                          Nature of Debts (Check one box)
                                                      Nonprofit Organization qualified
                                                      under 26 U.S.C. § 501(c)(3)                     Consumer/Non-Business                       Business

                               Filing Fee (Check one box)                                                                       Chapter 11 Debtors
    Full Filing Fee attached                                                                      Check one box:
                                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must
    attach signed application for the court's consideration certifying that the debtor                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                  Check if:
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Official Form 3B.                   Debtor's aggregate noncontingent liquidated debts owed to non-insiders
                                                                                                     or affiliates are less than $2 million.
Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
    available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-          200-      1000-        5001-       10,001-      25,001-        50,001-     OVER
        49           99          199           999       5,000       10,000       25,000       50,000         100,000    100,000



Estimated Assets
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million



Estimated Debts
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million
           06-11391-rdd             Doc 1        Filed 06/21/06         Entered 06/21/06 17:12:16                              Main Document
(Official Form 1) (10/05)                                              Pg 2 of 138                                                      FORM B1, Page 2
                                                                                Name of Debtor(s):
Voluntary Petition                                                                Platform Learning Inc.
(This page must be completed and filed in every case)
                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location                                                               Case Number:                          Date Filed:
Where Filed: - None -
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                           Relationship:                         Judge:

                                  Exhibit A                                                                              Exhibit B
                                                                                  (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,          I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                  have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934          12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                     under each such chapter.
                                                                                  I further certify that I delivered to the debtor the notice required by §342(b) of
                                                                                  the Bankruptcy Code.
      Exhibit A is attached and made a part of this petition.
                                                                                  X
                                                                                      Signature of Attorney for Debtor(s)                    Date

                                  Exhibit C                                                        Certification Concerning Debt Counseling
                                                                                                          by Individual/Joint Debtor(s)
  Does the debtor own or have possession of any property that poses or
  is alleged to pose a threat of imminent and identifiable harm to public             I/we have received approved budget and credit counseling during
  health or safety?                                                                   the 180-day period preceding the filing of this petition.

      Yes, and Exhibit C is attached and made a part of this petition.                I/we request a waiver of the requirement to obtain budget and
                                                                                      credit counseling prior to filing based on exigent circumstances.
      No                                                                              (Must attach certification describing.)

                                         Information Regarding the Debtor (Check the Applicable Boxes)

                                                           Venue (Check any applicable box)

                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                 days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                 this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                 proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                 sought in this District.


                                     Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                           Check all applicable boxes.

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                  (Name of landlord that obtained judgment)




                                  (Address of landlord)


                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                 after the filing of the petition.
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                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Platform Learning Inc.
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by §1515 of title 11 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to §1511 of title 11, United States Code, I request relief in accor-
     [If no attorney represents me and no bankruptcy petition preparer                 dance with the chapter of title 11 specified in this petition. A certified copy
     signs the petition] I have obtained and read the notice required by               of the order granting recognition of the foreign main proceeding is attached.
     §342(b) of the Bankruptcy Code.
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X                                                                                    Printed Name of Foreign Representative
     Signature of Debtor
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
                                                                                      copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Eric W. Sleeper                                                             amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Eric W. Sleeper ES-0528
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Herrick, Feinstein LLP
     Firm Name
      2 Park Avenue                                                                   Social Security number (If the bankrutpcy petition preparer is not
      New York, NY 10016                                                              an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      (212) 592-1400 Fax: (212) 592-1500
     Telephone Number
                                                                                      Address
     June 21, 2006
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose social security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X    /s/ Juan Torres
                                                                                      bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual
      Juan Torres
     Printed Name of Authorized Individual
      President                                                                       If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
      June 21, 2006                                                                   A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
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Form 4
(10/05)

                                                                  United States Bankruptcy Court
                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                                        Case No.
                                                                                              Debtor(s)                    Chapter        11


                                 LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                       Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
             accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
             persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
             the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
             If a minor child is one of the creditors holding the 20 largest unsecured claims, indicate that by stating "a minor child" and
             do not disclose the child's name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                      (1)                                                     (2)                                  (3)                      (4)                      (5)

 Name of creditor and complete                    Name, telephone number and complete                     Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                    mailing address, including zip code, of                 debt, bank loan,         contingent,             secured, also state
 code                                             employee, agent, or department of creditor              government contract,     unliquidated,           value of security]
                                                  familiar with claim who may be contacted                etc.)                    disputed, or subject
                                                                                                                                   to setoff
 Scholastic Inc.                                  Beth Polcari                                            Trade Vendor                                     2,896,335.61
 557 Broadway                                     Scholastic Inc.
 New York, NY 10012                               557 Broadway
                                                  New York, NY 10012
                                                  212-965-7404
 Adecco USA, Inc.                                 Richard Colefield                                       Trade Vendor                                     2,476,648.03
 175 Broad Hollow Road                            Adecco
 Attn: General Counsel                            61 Broadway
 Melville, NY 11747                               New York, NY 10006-2701
                                                  212-509-3300
 Philosophy IB                                    Christine Lohtz                                         Trade Vendor                                     818,269.04
 25 A Vreeland Road                               Philosophy IB
 Suite 100                                        25 A Vreeland Road, Suite 100
 Florham Park, NJ 07932                           Florham Park, NJ 07932
 Cambium Learning                                 David Caron, CFO                                        Trade Vendor                                     722,207.00
 313 Speen Street                                 Cambium Learning
 Natick, MA 01760                                 313 Speen Street
                                                  Natick, MA 01760
                                                  508-647-1340
 Suttle Straus                                    John Fox                                                Trade Vendor                                     463,170.28
 PO Box 370                                       Suttle Straus
 Waunakee, WI 53597                               PO Box 370
                                                  Waunakee, WI 53597
                                                  608-849-7000 x222
 Ace Printing Company Inc                         Mike Marantz                                            Trade Vendor                                     289,939.61
 54 Fadem Road                                    Ace Printing Company Inc
 Springfield, NJ 07081                            54 Fadem Road
                                                  Springfield, NJ 07081
                                                  973-467-4422
 Korn Ferry International                         Christine Donovan, Esq.                                 Trade Vendor                                     273,811.00
 1900 Avenue of the Stars                         The Donovan Group
 26th Floor                                       2920 Newport Blvd., Ste. B
 Los Angeles, CA 90067                            Newport Beach, CA 92663
                                                  949-673-8674




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 In re       Platform Learning Inc.                                                                                        Case No.
                                                                                              Debtor(s)



                                 LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                     (2)                                  (3)                      (4)                      (5)

 Name of creditor and complete                    Name, telephone number and complete                     Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                    mailing address, including zip code, of                 debt, bank loan,         contingent,             secured, also state
 code                                             employee, agent, or department of creditor              government contract,     unliquidated,           value of security]
                                                  familiar with claim who may be contacted                etc.)                    disputed, or subject
                                                                                                                                   to setoff
 Ultimus                                          Willis Lumpkin, CFO                                     Trade Vendor                                     248,501.47
 15200 Weston Parkway                             Ultimus
 Suite 106                                        15200 Weston Pkwy, Suite 106
 Cary, NC 27513                                   Cary, NC 27513
                                                  919-678-0900 x107
 Print Media                                      Jordan Wachtell                                         Trade Vendor                                     246,748.76
 350 7th Avenue                                   Print Media
 12th Floor                                       350 7th Avenue, 12th Floor
 New York, NY 10001                               New York, NY 10001
                                                  212-563-4040
 Prudential Financial                             Joseph Clasen, Esq.                                     Trade Vendor                                     241,594.53
 PO Box 841337                                    Robinson & Cole
 Dallas, TX 75284                                 695 East Main Street
                                                  Stamford, CT 06904-2305
                                                  203-462-7510
 KB Toys Wholesale Inc                            David Pyne                                              Trade Vendor                                     240,872.00
 100 West St                                      KB Toys Wholesale Inc
 Pittsfield, MA 01201                             100 West St
                                                  Pittsfield, MA 01201
                                                  413-496-3360
 Recruitmax Software, Inc.                        Mark Silverman                                          Trade Vendor                                     231,114.00
 c/o Mark Silverman, Vurv                         c/o Vurv Technology
 Techn                                            7600 Centurian Pkwy, Ste. 100
 7600 Centurian Pkwy, Ste.                        Jacksonville, FL 32256
 100                                              904-493-8579
 Jacksonville, FL 32256
 Harcourt Assessment, Inc.                        Jason Morrow                                            Trade Vendor                                     228,775.46
 Customer Service                                 Harcourt Assessment, Inc.
 PO Box 708912                                    Customer Service
 San Antonio, TX 78270-8912                       PO Box 708912
                                                  San Antonio, TX 78270-8912
                                                  210-339-5155
 Managerial Design                                Richard Quinn                                           Trade Vendor                                     225,773.78
 Corporation                                      Managerial Design Corporation
 1033 Solutions Center                            1033 Solutions Center
 Chicago, IL 60677-1000                           Chicago, IL 60677-1000
                                                  502-867-0550
 VirtualEdge Corporation                          Mike Gorman                                             Trade Vendor             Contingent              207,778.09
 1010 Stony Hill Road                             VirtualEdge Corporation                                                          Unliquidated
 Yardley, PA 19067                                1010 Stony Hill Road                                                             Disputed
                                                  Yardley, PA 19067
                                                  215-504-5400
 AXA Corp. Solutions Reins.                       Vincent Assennato                                       Leasehold                                        202,374.38
 Co.                                              AXA Corp Solutions Reins. Co.
 17 State Street, 38th Floor                      17 State Street / 38th Floor
 New York, NY 10004                               New York, NY 10004
                                                  212-658-8673


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 In re       Platform Learning Inc.                                                                                        Case No.
                                                                                              Debtor(s)



                                 LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                                       (Continuation Sheet)

                      (1)                                                     (2)                                  (3)                      (4)                      (5)

 Name of creditor and complete                    Name, telephone number and complete                     Nature of claim (trade   Indicate if claim is    Amount of claim [if
 mailing address including zip                    mailing address, including zip code, of                 debt, bank loan,         contingent,             secured, also state
 code                                             employee, agent, or department of creditor              government contract,     unliquidated,           value of security]
                                                  familiar with claim who may be contacted                etc.)                    disputed, or subject
                                                                                                                                   to setoff
 ePredix                                          Malvin Patterson                                        Trade Vendor                                     193,872.00
 MI 06 PO Box 1150                                ePredix
 Minneapolis, MN 55480-1150                       MI 06 PO Box 1150
                                                  Minneapolis, MN 55480-1150
                                                  612-843-1075 or 612-832-0573
 Russell Reynolds Assoc.                          Michael Iannico                                         Trade Vendor                                     185,953.47
 200 Park Avenue                                  Russell Reynolds Assoc.
 New York, NY 10166-7018                          200 Park Avenue
                                                  New York, NY 10166-7018
                                                  212-716-7018
 Nixon Peabody LLP                                Jeff Clark                                              Legal Services                                   180,000.00
 437 Madison Avenue                               Nixon Peabody LLP
 New York, NY 10022                               437 Madison Avenue
                                                  New York, NY 10022
                                                  202-585-8000
 Hudson Bay Environments                          Hudson Bay Environments                                 Trade Vendor             Subject to Setoff       175,571.40
 One Fordham Plaza                                One Fordham Plaza
 Bronx, NY 10458-5871                             Bronx, NY 10458-5871
                                                  DECLARATION UNDER PENALTY OF PERJURY
                                                ON BEHALF OF A CORPORATION OR PARTNERSHIP
                      I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
             read the foregoing list and that it is true and correct to the best of my information and belief.


 Date June 21, 2006                                                             Signature     /s/ Juan Torres
                                                                                              Juan Torres
                                                                                              President

          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                           18 U.S.C. §§ 152 and 3571.




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 In re   Platform Learning Inc.                                                  Case No.
                                                          Debtor(s)

           GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
             DISCLAIMER REGARDING DEBTOR’S SCHEDULES AND STATEMENTS

         The Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Schedules and
Statements”) filed by Platform Learning Inc., debtor and debtor-in-possession in the above-captioned Chapter
11 case, are unaudited and were prepared pursuant to 11 U.S.C. § 521 and Rule 1007 of the Federal Rules of
Bankruptcy Procedure by the Debtor’s management. While the Debtor’s management has made reasonable
efforts to file complete and accurate Schedules and Statements based upon information available at the time of
preparation, the Schedules and Statements remain subject to further review and verification by the Debtor.
Subsequent information may result in material changes in financial and other data contained in the Schedules
and Statements. The Debtor reserves the right to amend its Schedules and Statements from time to time as may
be necessary or appropriate. This Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding Debtor’Schedules and Statements (the “Global Notes”) is incorporated by reference in, and
comprises an integral part of, the Schedules and Statements and should be referred to and reviewed in
connection with any review of the Schedules and Statements.

        1)      Description of the Case and “As Of”Information Date. On June 21, 2006 (the “Petition Date”),
the Debtor filed a voluntary petition for relief under Chapter 11 of the United States Bankruptcy Code, 11
U.S.C. §§ 101- et seq. (the “Bankruptcy Code”). The Debtor is currently operating its business and possessing
its property as a debtor-in-possession under Bankruptcy Code §§ 1107 and 1108 of the Bankruptcy Code.
Except as otherwise noted, all asset and liability information is as available as of May 2006.

       2)       Basis of Presentation. These Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor are they
intended to fully reconcile to any financial statements otherwise prepared and/or distributed by the Debtor.

       3)      Summary of Significant Reporting Policies. The following conventions were adopted by the
Debtor in the preparation of the Schedules and Statements:

                  a.     Fair Market Value; Book Value. Unless otherwise noted, the Schedules and Statements
         reflect the carrying value of the liabilities as listed in the Debtor’s books and records. Where the current
         market value of assets is unknown, the Debtor has based its valuation as best as possible on book values;
         however, particularly with respect to equipment and systems, the Debtor believes the actual value may
         be substantially lower. Where known, accumulated depreciation of assets has been noted.
                 b.     Inventories. Inventories are valued in the Schedules and Statements at the values
         indicated on the Debtor’s books and records.
                 c.      Real Property and Personal Property –Leased. In the ordinary course of its business, the
         Debtor leases real property and various articles of personal property, including furniture, fixtures and
         equipment, from certain third-party lessors. Every attempt has been made to set forth all such leases in
         the Schedules and Statements. The property subject to leases may not be reflected in the Schedules and
         Statements as either owned property or assets of the Debtor or property or assets of third-parties within
         the control of the Debtor. The lease payments under such leases have been included on Schedule D
         (secured debt) to the extent the lessor filed a UCC-1. However, nothing in the Schedules or Statements
         is or shall be construed as an admission or determination as to the legal status of any lease (including
         whether to assume and assign or reject such lease or whether it is a true lease or a financing
         arrangement), and the Debtor reserves all of its rights with respect to all such issues.
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        d.     Causes of Action. The Debtor reserves all of its rights with respect to any causes of
action it may have, and neither these Global Notes nor the Schedules and Statements shall be deemed a
waiver of any such causes of action.
        e.      Schedule D. The Debtor reserves the right to dispute or challenge the validity, perfection
or immunity from avoidance of any lien purported to be granted or perfected in any specific asset to a
secured creditor listed on Schedule D. Moreover, although the Debtor may have scheduled claims of
various creditors as secured claims, the Debtor reserves all of its rights to dispute or challenge the
secured nature of any such creditor’s claim or the characterization of the structure of any such
transaction or any document or instrument related to such creditor’s claim. The descriptions provided on
Schedule D are intended only to be a summary. Reference to the applicable loan agreements and related
documents is necessary for a complete description of the collateral and the nature, extent and priority of
any liens. Nothing in the Global Notes or the Schedules and Statements shall be deemed a modification
or interpretation of the terms of such agreements
         f.      Schedule G. While every effort has been made to ensure the accuracy of the Schedule of
Executory Contracts, inadvertent errors or omissions may have occurred. The Debtor hereby reserves all
of its rights to dispute the validity, status, or enforceability of any contracts, agreements or leases set
forth on Schedule G and to amend or supplement such Schedule as necessary. The contracts, agreements
and leases listed on Schedule G may have expired or may have been modified, amended, or
supplemented from time to time by various amendments, restatements, waivers, estoppel certificates,
letter and other documents, instruments and agreements which may not be listed therein. Certain of the
real property leases listed on Schedule G may contain renewal options, guarantees of payments, options
to purchase, rights of first refusal, rights to lease additional space and other miscellaneous rights. Such
rights, powers, duties and obligations are not set forth on Schedule G. Certain of the executory
agreements may not have been memorialized and could be subject to dispute. Executory agreements that
are oral in nature, if any, have been scheduled to the best of the Debtor’s knowledge. Additionally, the
Debtor may be a party to various other agreements concerning real property, such as easements, rights of
way, subordination, nondisturbance, supplemental agreements, amendments/letter agreements, title
documents, consents, site plans, maps and other miscellaneous agreements. Such agreements, if any, are
not set forth on Schedule G. Certain of the agreements listed on Schedule G may be in the nature of
conditional sales agreements or secured financings. The presence of a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an executory contract or
unexpired lease. The Debtor reserves all of its rights, claims and causes of action with respect to the
contracts and agreements listed on these Schedules and Statements, including the right to dispute or
challenge the characterization or the structure of any transaction, document, or instrument.
        g.     Disputed, Contingent and/or Unliquidated Claims. Schedules D, E and F permit the
Debtor to designate a claim as disputed, contingent and/or unliquidated. A failure to designate a claim
on any of these Schedules as disputed, contingent and/or unliquidated does not constitute an admission
that such claim is not subject to objection. The Debtor reserves the right to dispute, or assert offsets or
defenses to, any claim reflected on these Schedules as to amount, liability or status.
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Form 6-Summary
(10/05)


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                                                                   United States Bankruptcy Court
                                                                          Southern District of New York
  In re          Platform Learning Inc.                                                                               Case No.
                                                                                                            ,
                                                                                             Debtor
                                                                                                                      Chapter                 11




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities."

                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES           OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                     0.00


B - Personal Property                                              Yes                5           21,026,147.54


C - Property Claimed as Exempt                                     No                 0


D - Creditors Holding Secured                                      Yes                3                                    21,998,069.07
      Claims
E - Creditors Holding Unsecured                                    Yes                2                                          15,655.46
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                52                                   14,919,765.69
      Nonpriority Claims
G - Executory Contracts and                                        Yes                7
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   No                 0                                                                 N/A
      Debtor(s)
J - Current Expenditures of                                        No                 0                                                                 N/A
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            71


                                                                              Total Assets        21,026,147.54


                                                                                               Total Liabilities           36,933,490.22




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  In re          Platform Learning Inc.                                                                                Case No.
                                                                                                              ,
                                                                                                Debtor

                                                                  SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                              Husband,     Current Value of
                                                                                      Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                                 Interest in Property                 Property, without
                                                                                                               Joint, or Deducting                     Secured Claim
                                                                                                             Community             any Secured
                                                                                                                          Claim or Exemption




                         None




                                                                                                              Sub-Total >               0.00          (Total of this page)

                                                                                                                   Total >              0.00
  0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
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  In re          Platform Learning Inc.                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                           X

2.     Checking, savings or other financial                       SVB (Checking)                                                         -                      Unknown
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                         JPMorgan Chase (Checking)                                              -                      Unknown
       thrift, building and loan, and
       homestead associations, or credit                          Bank of America CD                                                     -                     150,000.00
       unions, brokerage houses, or
       cooperatives.                                              Collateral CD - To Back LC (Beneficiary: Dell)                         -                      98,456.00

                                                                  Collateral CD - To Back LC (Beneficiary: AXA)                          -                     527,281.00

3.     Security deposits with public                              E&Y / 55 Broad Street Office                                           -                      51,986.00
       utilities, telephone companies,
       landlords, and others.                                     E&Y / 55 Broad Street                                                  -                        3,165.00

                                                                  Dubrow Management/Newark Office                                        -                        5,666.66

                                                                  K.L. Holdings LLC / Camden                                             -                        5,933.52

                                                                  The TreeLine 189 Partners / Brooklyn/Queens Office                     -                      14,864.74

                                                                  Harlem Legal Services/Bronx Office                                     -                        2,744.00

                                                                  IRP - Lincoln Atlanta Assoc / Atlanta Office                           -                        7,118.76

                                                                  GS Equities LLC / Detroit Office                                       -                        2,296.45

                                                                  Plymouth Partners / Chicago Office                                     -                        4,425.48

                                                                  Jim Petropoulos / San Diego Office                                     -                        4,470.00

                                                                  Regis Business Center / LA Regis Business                              -                        4,234.21

                                                                  Younan Properties / LA Office                                          -                      11,055.60

                                                                  COMAC Gas and Electric / Chicago Office                                -                           585.00

                                                                  Chelsea Storage                                                        -                           661.00


                                                                                                                                         Sub-Total >        894,943.42
                                                                                                                             (Total of this page)

  4      continuation sheets attached to the Schedule of Personal Property

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(10/05)




  In re          Platform Learning Inc.                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption
                                                                  RRFV Tri City Partners / San Bernadino Office                          -                        2,938.30

                                                                  Con Ed Communications / 17 State Street                                -                        5,000.00

                                                                  Jones Lang Lasalle / Miami Office                                      -                      17,424.00

                                                                  FBEC - Brickell Key Center / Ft Lauderdale Office                      -                      44,341.92

                                                                  Radice III, LLC / Ft. Lauderdale Office                                -                      16,998.26

                                                                  Genesis / Akron, Cleveland Office                                      -                        5,335.75

                                                                  MWH #14 Corp / Tampa Office                                            -                        4,117.75

                                                                  Flagler Development Co / Jacksonville Office                           -                      18,923.96

                                                                  The Exchange of Ft. Lauderdale LLC / Orlando                           -                        5,849.38
                                                                  Office

                                                                  Abrams Family Investment LLC / Las Vegas                               -                        7,177.99

4.     Household goods and furnishings,                       X
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                          X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                       X

7.     Furs and jewelry.                                      X

8.     Firearms and sports, photographic,                     X
       and other hobby equipment.

9.     Interests in insurance policies.                       X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                          X
    issuer.




                                                                                                                                         Sub-Total >        128,107.31
                                                                                                                             (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re          Platform Learning Inc.                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                          X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                        X
    ventures. Itemize.

15. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                          Invoiced A/R                                                           -                  5,381,674.00

                                                                  Accrued A/R (Estimated)                                                -                  2,800,000.00

17. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                         Sub-Total >      8,181,674.00
                                                                                                                             (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re          Platform Learning Inc.                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

21. Other contingent and unliquidated                             Unknown                                                                -                              0.00
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                                SMART Software                                                         -                      Unknown
    intellectual property. Give
    particulars.                                                  Project Elevate Software                                               -                      Unknown

23. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                      X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        X
    other vehicles and accessories.

26. Boats, motors, and accessories.                           X

27. Aircraft and accessories.                                 X

28. Office equipment, furnishings, and                            Computer Equipment (at NBV as of 3/31/06)                              -                  1,084,914.53
    supplies.
                                                                  Other Equipment (at NBV as of 3/31/06)                                 -                        6,705.94

                                                                  Systems (at NBV as of 3/31/06)                                         -                  6,388,536.93

29. Machinery, fixtures, equipment, and                           Furniture                                                              -                     879,597.59
    supplies used in business.
                                                                  Leasehold Improvements                                                 -                     222,540.42

30. Inventory.                                                    Curriculum (as of 3/31/06)                                             -                  1,958,520.00

                                                                  Student Rewards (as of 3/31/06)                                        -                     882,491.00

                                                                  Marketing Collateral (as of 3/31/06)                                   -                     254,082.00

                                                                  Other (as of 3/31/06)                                                  -                     144,034.40

31. Animals.                                                  X


                                                                                                                                         Sub-Total >     11,821,422.81
                                                                                                                             (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re          Platform Learning Inc.                                                                                       Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                        X
    particulars.

33. Farming equipment and                                     X
    implements.

34. Farm supplies, chemicals, and feed.                       X

35. Other personal property of any kind                       X
    not already listed. Itemize.




                                                                                                                                         Sub-Total >                  0.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >    21,026,147.54
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
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   In re          Platform Learning Inc.                                                                                            Case No.
                                                                                                                       ,
                                                                                                      Debtor

                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
      List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
 the child's name. See 11 U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
 claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If
 the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                    O                                                              O    N   I
                                                                 D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                              T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                  B   W             NATURE OF LIEN, AND                          I    Q   U                       PORTION, IF
                                                                 T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                                DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                              G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                     C                 OF PROPERTY
                                                                 R
                                                                                     SUBJECT TO LIEN
                                                                                                                                E    D   D     COLLATERAL
                                                                                                                                N    A
                                                                                                                                T    T
Account No.                                                              Subordinated debt (in participation with                    E
                                                                         Capital Resource Partners)                                  D

AlpInvest Partners Inc.
630 Fifth Avenue, 28th Floor
New York, NY 10111
                                                                     -

                                                                          Value $                                    0.00                       4,805,260.99           Unknown
Account No.                                                              Bank of America CD

Bank of America
PO Box 60073
City Of Industry, CA 91716-0073
                                                                     -

                                                                          Value $                              150,000.00                               0.00                   0.00
Account No.                                                              1/6/05, 8/16/05

Canon Bus. Solutions-East, Inc                                         1/6/05: Lease #4153010, 2 Canon IR500;
P.O. Box 728                                                           8/16/05: Lease #200140062, 2 Canon
Park Ridge, NJ 07656                                                   IR5020 copiers, 1 Canon IRC3220 copier,
                                                                     - 1 Canon DR9080C Scanner

                                                                          Value $                               Unknown                                 0.00           Unknown
Account No.                                                            7/20/05, 7/27/05, 8/16/05
                                                                       7/20/05: All equipment under Lease
Canon Fin. Services, Inc.                                              #005-0262702-0002; 7/27/05: All
158 Gaither Drive #200                                                 equipment under Lease
                                                                       #005-0262702-0003; 8/16/05: All
Suite 100
                                                                     - equipment under Lease
Mount Laurel, NJ 08054                                                 #005-0262702-0004
                                                                          Value $                               Unknown                             7,295.93           Unknown
                                                                                                                             Subtotal
 2
_____ continuation sheets attached                                                                                                              4,812,556.92
                                                                                                                    (Total of this page)




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   In re            Platform Learning Inc.                                                                                        Case No.
                                                                                                                     ,
                                                                                                      Debtor


                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                          (Continuation Sheet)

                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                     O                                                            O    N   I
                                                                 D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT         UNSECURED
                                                                     W               NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                  B
                                                                                    DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                 T   J                                                        N    U   T                          ANY
           AND ACCOUNT NUMBER                                    O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                                R
                                                                                        SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                                                                                        E
                                                                          Canon Fin. Services, Inc.                                D

Additional Notice:                                                        15325 S.E. 30th Place
Canon Fin. Services, Inc.                                                 Suite 100
                                                                          Bellevue, WA 98007


                                                                          Value $
Account No.                                                              10/8/04, 1/12/05

Capital Resource Partners V LP                                           All Assets
85 Merrimac Street
Suite 200
                                                                     -
Boston, MA 02114

                                                                          Value $                              Unknown                        9,516,026.26           Unknown
Account No.                                                              8/24/04, 11/4/04

Dell Financial Services, LP                                              All computer equipment pursuant to
12234 N. IH-35 Bldg B                                                    equipment leases #006361067-0002 and
Austin, TX 78753                                                         #006361067-0003
                                                                     -

                                                                          Value $                              Unknown                          50,156.58            Unknown
Account No.
                                                                          Dell Financial Services
Additional Notice:                                                        899 Eaton Avenue
Dell Financial Services, LP                                               Bethlehem, PA 18025



                                                                          Value $
Account No.
                                                                          Dell Financial Services, LP
Additional Notice:                                                        99355 Collections Center Drive
Dell Financial Services, LP                                               Chicago, IL 60693



                                                                          Value $
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                              9,566,182.84
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




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   In re            Platform Learning Inc.                                                                                        Case No.
                                                                                                                     ,
                                                                                                      Debtor


                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                          (Continuation Sheet)

                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                     O                                                            O    N   I
                                                                 D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT         UNSECURED
                                                                     W               NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                  B
                                                                                    DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                 T   J                                                        N    U   T                          ANY
           AND ACCOUNT NUMBER                                    O   C                   OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                                R
                                                                                        SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                            1/20/04                                                     E
                                                                       Master Agt/Lease No:------ Cust: 1159844                    D

IOS Capital Inc.                                                       CAIR110 NQU00109 CAIR2010F
                                                                       MRU04019 CAIR2010F MRU04035
1738 Bass Road                                                         CAIR201F MRU04037 CAIR2010F
Macon, GA 31210                                                        MRU04023 CAIR2010F MRU000154
                                                                     - CAIR2010F MRU04185 CAIR2010F
                                                                       MRU03443 CAIR1370F MNT06127
                                                                          Value $                                  0.00                               0.00                   0.00
Account No.                                                              10/20/05

Relational LLC                                                           Various Computer Equipment pursuant
101 Federal Street                                                       to Master Equipment Lease Agreement
Suite 1900                                                               dated October 5, 2005
                                                                     -
Boston, MA 02110

                                                                          Value $                              Unknown                        2,058,874.31           Unknown
Account No.                                                              11/9/04, 11/12/04, 9/8/05

Silicon Valley Bank                                                 Equipment financed with an Equipment
221 Washington St., Ste. 200                                        Finance pursuant to Security
One Newton Executive Park                                           Agreement, dated September 30, 2004;
                                                                X - All assets (UCC-1 9/8/05)
Newton, MA 02462

                                                                          Value $                                  0.00                       5,560,455.00           Unknown
Account No.




                                                                          Value $
Account No.




                                                                          Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                              7,619,329.31
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)
                                                                                                                              Total          21,998,069.07
                                                                                                    (Report on Summary of Schedules)

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(10/05)


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  In re          Platform Learning Inc.                                                                       Case No.
                                                                                                    ,
                                                                                      Debtor

                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
     the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
     11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
     entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
     them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
     Community". If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
     labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
     of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
     Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
     amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
     report this total on the Means Test form.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
         Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
     11 U.S.C. § 507(a)(1).
         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
     of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
     the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).
           Taxes and certain other debts owed to governmental units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).
         Commitments to maintain the capital of an insured depository institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.
                                                            1      continuation sheets attached
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 (10/05)




   In re            Platform Learning Inc.                                                                                        Case No.
                                                                                                                     ,
                                                                                                      Debtor

                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)


                                                                                                                             Wages, salaries, and commissions
                                                                                                                                           TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                    O                                                            O    N   I
           AND MAILING ADDRESS                                   D
                                                                     H
                                                                                                                              N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                              OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                        N    U   T                        PRIORITY
                                                                 O                                                            G    I   E
              (See instructions.)                                R   C                                                        E    D   D
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                                                                                        E
                                                                                                                                   D

Brenda Leggett
c/o Frances Farber-Walter, Esq
25 Main Street, Suite 104
                                                                     -
Hackensack, NJ 07601

                                                                                                                                                  7,500.00              7,500.00
Account No.

Marlene Wechsler
1501 First Avenue
Apt. 4S
                                                                     -
New York, NY 10021

                                                                                                                                                  1,087.76              1,087.76
Account No.

Stacey Johnson
c/o Peter Ulanowicz, Esq.
4486 Davie Road
                                                                     -
Davie, FL 33314

                                                                                                                                                  7,067.70                    0.00
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                 15,655.46             8,587.76
Schedule of Creditors Holding Unsecured Priority Claims                                                           (Total of this page)
                                                                                                                              Total              15,655.46             8,587.76
                                                                                                    (Report on Summary of Schedules)

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   In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                        ,
                                                                                                      Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
 that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
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                                                                                                                                           N   A
Account No.                                                                                                                                T   T
                                                                                                                                               E
                                                                                                                                               D

45 Academy Street Associates
c/o Dubrow Management                                                              -
45 Academy Street, Suite 200
Newark, NJ 07102
                                                                                                                                                                       2,800.00
Account No.

4T-Technologies, Inc.
885 Woodstock Road                                                                 -
Suite 430 # 220
Rosewell, GA 30075-2274
                                                                                                                                                                     17,448.00
Account No.

55 Broad Street LP
345 Park Avenue                                                                    -
New York, NY 10154-0101

                                                                                                                                                                         225.00
Account No.

AAA Architectural Hardware Co
44 West 46th Street                                                                -
New York, NY 10036

                                                                                                                                                                         119.21

                                                                                                                                         Subtotal
 51 continuation sheets attached
_____                                                                                                                                                                20,592.21
                                                                                                                               (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

ABM Janitorial Services
PO Box 19459A                                                                      -
Newark, NJ 07195-0459

                                                                                                                                                                    8,239.43
Account No.

Abrams Family Investments LLC
c/o United Ins. Co. of America                                                     -
7674 W. Lake Mead Blvd, #104
Las Vegas, NV 89128
                                                                                                                                                                    7,348.13
Account No.                                                                            United Ins. Co. of America
                                                                                       7674 W. Lake Mead Blvd
Additional Notice:                                                                     Suite 104
Abrams Family Investments LLC                                                          Las Vegas, NV 89128




Account No.

ACC Business
PO Box 13136                                                                       -
Newark, NJ 07101-5636

                                                                                                                                                                      475.00
Account No.

Accountemps
12400 Collections Center Drive                                                     -
Chicago, IL 60693

                                                                                                                                                                      624.00

           1
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                  16,686.56
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

AccuConference
Attn: David Byrd                                                                   -
6300 Ridglea Place, Suite 318
Fort Worth, TX 76116
                                                                                                                                                                  14,629.16
Account No.

Ace Printing Company Inc
54 Fadem Road                                                                      -
Springfield, NJ 07081

                                                                                                                                                                289,939.61
Account No.

Acxiom
12445 Collection Center Drive                                                      -
Chicago, IL 60693

                                                                                                                                                                    7,667.75
Account No.

Adecco USA, Inc.
175 Broad Hollow Road                                                              -
Attn: General Counsel
Melville, NY 11747
                                                                                                                                                              2,476,648.03
Account No.                                                                            Adecco
                                                                                       PO Box 371084
Additional Notice:                                                                     Pittsburgh, PA 15250-7084
Adecco USA, Inc.




           2
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                              2,788,884.55
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                            Adecco                                                  E
                                                                                       99 Summer Street                                        D
Additional Notice:
Adecco USA, Inc.                                                                       Attn: VP of Operations
                                                                                       Boston, MA 02110




Account No.                                                                            Adecco
                                                                                       61 Broadway
Additional Notice:
                                                                                       New York, NY 10006-2701
Adecco USA, Inc.




Account No.

ADP Inc
PO Box 7247-0351                                                                   -
Philadelphia, PA 19170-0351

                                                                                                                                                                  18,586.75
Account No.

AFCO
Dept 21315                                                                         -
Pasadena, NY 91185-1315

                                                                                                                                                                        98.08
Account No.

AHA! Interactive
53 W. Jackson Blvd.                                                                -
Suite 1135
Chicago, IL 60604
                                                                                                                                                                  62,776.03

           3
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                  81,460.86
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
                                                                                                                                               D

ALEKS Corporation
400 North Tustin, Suite 300                                                        -
Santa Ana, CA 92705

                                                                                                                                                                    1,625.00
Account No.

All Shredding Corp
27 Williams Street 4th Floor                                                       -
New York, NY 10005

                                                                                                                                                                      189.66
Account No.

Allessandra Cautenicci
6200 Wagner Lane                                                                   -
Bethesda, MD 20816

                                                                                                                                                                    9,070.73
Account No.

Allied Office Products
100 Delawanna Ave                                                                  -
Clifton, NJ 07014

                                                                                                                                                                  78,324.01
Account No.

Arrowhead
PO Box 52237                                                                       -
Phoenix, AZ 85072-2237

                                                                                                                                                                      200.89

           4
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                  89,410.29
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
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AXA Corp. Solutions Reins. Co.
17 State Street, 38th Floor                                                        -
New York, NY 10004

                                                                                                                                                                202,374.38
Account No.

Ayers Group
405 Lexington Avenue                                                               -
New York, NY 10174

                                                                                                                                                                  88,000.00
Account No.

Bekins Worldwide Solutions
135 S. LaSalle, Dept. 1624                                                         -
Chicago, IL 60674-1624

                                                                                                                                                                    3,364.11
Account No.

Bellsouth
PO Box 70529                                                                       -
Charlotte, NC 28272-0529

                                                                                                                                                                    3,034.93
Account No.

BIG
1131 W. Warner Road, Suite 102                                                     -
Tempe, AZ 85284

                                                                                                                                                                  12,349.76

           5
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                309,123.18
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Big Apple Car
169 Bay 17th Street                                                                -
Brooklyn, NY 11214

                                                                                                                                                                  13,500.56
Account No.

Big Apple Visual Group
247 W. 35th Street                                                                 -
New York, NY 10001

                                                                                                                                                                    2,450.00
Account No.

Brown & Bigelow
PO Box 1450 NW 8554                                                                -
Minneapolis, MN 55485-8554

                                                                                                                                                                    8,923.58
Account No.

Business Objects
7573 Collections Center Drive                                                      -
Chicago, IL 60693

                                                                                                                                                                  17,892.00
Account No.

Cambium Learning
313 Speen Street                                                                   -
Natick, MA 01760

                                                                                                                                                                722,207.00

           6
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                764,973.14
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Canon Business Solutions
300 Commerce Square Blvd                                                           -
Burlington, NJ 08016

                                                                                                                                                                    7,680.64
Account No.

Canon Business Solutions-West
PO Box 100924                                                                      -
Pasadena, CA 91189-0924

                                                                                                                                                                      136.47
Account No.

Capital H Group
Attn: Gregory Silich                                                               -
225 W. Washington Street
Chicago, IL 60606
                                                                                                                                                                106,187.41
Account No.

Capital Resource
Management-Special Purp                                                            -
200 State Street
Boston, MA 02109
                                                                                                                                                                    8,269.99
Account No.

Carey International
PO Box 631414                                                                      -
Baltimore, NY 21263-1414

                                                                                                                                                                    2,769.78

           7
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                125,044.29
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
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Carlos Watson
111 North Rengstorff Ave.                                                          -
Suite 162
Mountain View, CA 94043
                                                                                                                                                                    2,500.00
Account No.

Carmel Private Car & Limousine
Services                                                                           -
2642 Broadway
New York, NY 10025
                                                                                                                                                                  20,554.24
Account No.

CDW Direct LLC
PO Box 75723                                                                       -
Chicago, IL 60675-5723

                                                                                                                                                                    6,299.52
Account No.

Central Parking System - FL
647 Brickell Key Drive                                                             -
Miami, FL 33131

                                                                                                                                                                    6,428.90
Account No.

Cingular - O
PO Box 6444                                                                        -
Carol Stream, IL 60197-6444

                                                                                                                                                                  19,204.03

           8
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                  54,986.69
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
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Cingular - W
PO Box 828435                                                                      -
Philadelphia, PA 19182-8435

                                                                                                                                                                    2,851.38
Account No.

Citicorp Vendor Finance, Inc
One International Boulevard                                                        -
Mahwah, NJ 07430-0631

                                                                                                                                                                  13,672.81
Account No.                                                                            Citicorp Vendor Finance, Inc
                                                                                       PO Box 7247-0118
Additional Notice:                                                                     Philadelphia, PA 19170-0118
Citicorp Vendor Finance, Inc




Account No.

Citicorp Vendor Finance, Inc
One International Boulevard                                                        -
Mahwah, NJ 07430-0631

                                                                                                                                                                         0.00
Account No.

City of San Bernardino Business Reg
300 North "D" Street                                                               -
San Bernardino, CA 92418

                                                                                                                                                                        60.00

           9
Sheet no. _____     51 sheets attached to Schedule of
                of _____                                                                                                                 Subtotal
                                                                                                                                                                  16,584.19
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Classic Coffee Systems, Ltd
333 W. Merrick Road                                                                -
Suite #3
Valley Stream, NY 11580
                                                                                                                                                                    4,502.76
Account No.

Clear Channel - WJLB
27675 Halsted Road                                                                 -
Farmington Hill, MI 48331

                                                                                                                                                                    3,000.00
Account No.

Club Quarters
49 W. 45th Street, 8th floor                                                       -
New York, NY 10036

                                                                                                                                                                    5,838.35
Account No.

CMRS-FP
Dept. 4272                                                                         -
Carol Stream, IL 60122-4272

                                                                                                                                                                    1,193.95
Account No.

Coffee Distributing Corp.
PO Box 766                                                                         -
Garden City Pk, NY 11040-0604

                                                                                                                                                                        25.82

           10 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  14,560.88
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
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ComEd
Bill Payment Center                                                                -
Chicago, IL 60668-0001

                                                                                                                                                                      168.85
Account No.

Commercial Wiring Service LLC
3010 Route 88                                                                      -
Pt Pleasant Bch, NJ 08742

                                                                                                                                                                    1,434.99
Account No.

Computer Generated Solutions
3 World Financial Center                                                           -
200 Vesey Street, 27th Floor
New York, NY 10281
                                                                                                                                                                  71,627.00
Account No.

Con Edison Communications
55 Broad Street                                                                    -
22nd FL - Finance
New York, NY 10004
                                                                                                                                                                  13,696.02
Account No.

Corbis Corporation
13159 Collections Center Drive                                                     -
Chicago, IL 60693

                                                                                                                                                                  14,545.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                101,471.86
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
                                                                                                                                               D

CSFB 1998-P1 Griswold Off LLC
645 Griswold, Suite 3080                                                           -
Detroit, MI 48226

                                                                                                                                                                      634.92
Account No.                                                                            Finsilver/Friedman Mgmt Corp.
                                                                                       Attn: Penobscot Building
Additional Notice:
                                                                                       34975 W. Twelve Mile Rd, #100
CSFB 1998-P1 Griswold Off LLC                                                          Farmington Hills, MI 48331




Account No.

Dart Courier Service
116 East 16th Street                                                               -
3rd Floor
New York, NY 10003
                                                                                                                                                                      223.70
Account No.

David Rivera
381 Bedford Park Blvd #2                                                           -
Bronx, NY 10458

                                                                                                                                                                      163.50
Account No.

Dell Inc.
One Dell Way                                                                       -
Round Rock, TX 78682

                                                                                                                                                                  10,199.60

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  11,221.72
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Dell Marketing LP
PO Box 676021                                                                      -
Dallas, TX 75267-6021

                                                                                                                                                                    2,601.00
Account No.

Deloitte
25 Broadway                                                                        -
New York, NY 10004-1010

                                                                                                                                                                  23,612.92
Account No.

DHL Express (USA) Inc.
PO Box 4723                                                                        -
Houston, TX 77210-4723

                                                                                                                                                                  31,510.18
Account No.

Downtown Key & Lock Co.
44 New Street                                                                      -
New York, NY 10004

                                                                                                                                                                      248.20
Account No.

Education Industry Association
PO Box 348                                                                         -
Watertown, WI 53094

                                                                                                                                                                  10,000.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  67,972.30
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
                                                                                                                                               D

Education Week
PO Box 2083                                                                        -
Marion, OH 43306-8183

                                                                                                                                                                        79.94
Account No.

Enterprise Rent-A-Car of SF
192 98th Ave                                                                       -
Oakland, CA 94603-1004

                                                                                                                                                                    2,072.99
Account No.

EPI Internet Direct
5694-4 Highway 7 East, Ste 322                                                     -
Markham, Ontario L3P 1B4
CANADA
                                                                                                                                                                      488.90
Account No.

ePredix
MI 06 PO Box 1150                                                                  -
Minneapolis, MN 55480-1150

                                                                                                                                                                193,872.00
Account No.

Epromos Promotional Products, Inc.
222 East 44th Street                                                               -
10th Floor
New York, NY 10017
                                                                                                                                                                138,807.39

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                335,321.22
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
                                                                                                                                               D

Ernst & Young LLP
PO Box 98366                                                                       -
Chicago, IL 60693

                                                                                                                                                                  12,030.53
Account No.

Ernst & Young U.S. LLP
PO Box 98366                                                                       -
Chicago, IL 60693

                                                                                                                                                                  18,715.50
Account No.                                                                            Ernst & Young U.S. LLP
                                                                                       5 Times Square
Additional Notice:                                                                     New York, NY 10036
Ernst & Young U.S. LLP




Account No.                                                                            Ernst & Young U.S. LLP
                                                                                       1300 Huntington Building
Additional Notice:                                                                     925 Euclid Avenue
Ernst & Young U.S. LLP                                                                 Cleveland, OH 44115




Account No.

Exchange of Ft Lauderdale LLC
1500 West Cypress Creek Road                                                       -
Suite 409
Fort Lauderdale, FL 33309
                                                                                                                                                                126,127.12

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                156,873.15
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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Account No.                                                                                                                                    E
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FBEC-Brickell Key Centre LP
c/o Jones Lang LaSalle Mgt Svc                                                     -
601 Brickell Key Dr, Ste 101
Miami, FL 33131
                                                                                                                                                                    6,214.56
Account No.                                                                            Jones Lang LaSalle Mgmt Svc
                                                                                       2995 Paysphere Circle
Additional Notice:
                                                                                       Chicago, IL 60674-2995
FBEC-Brickell Key Centre LP




Account No.

Fedex
PO Box 1140                                                                        -
Memphis, TN 38108

                                                                                                                                                                      248.64
Account No.

FedEx - PA
PO Box 371461                                                                      -
Pittsburgh, PA 15250-7461

                                                                                                                                                                      305.70
Account No.

Fedex Kinkos
PO Box 672085                                                                      -
Dallas, TX 75267-2085

                                                                                                                                                                  19,483.07

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  26,251.97
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

FIA
230 Park Avenue, Suite 422                                                         -
New York, NY 10169

                                                                                                                                                                      407.34
Account No.

Filterfresh Chicago
36245 Treasury Center                                                              -
Chicago, IL 60694-6200

                                                                                                                                                                    1,045.35
Account No.

FIT
Seventh Ave. at 27th Street                                                        -
New York, NY 10001-5992

                                                                                                                                                                    1,400.00
Account No.

Flagler Development Company
10151 Deerwood Park Boulevard                                                      -
Building 100, Suite 330
Jacksonville, FL 32256
                                                                                                                                                                  33,220.35
Account No.

Friends of Hillary
15 East 26th Street                                                                -
New York, NY 10010

                                                                                                                                                                      100.00

           17 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  36,173.04
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 Form B6F - Cont.
 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Fun Express
PO Box 2049                                                                        -
Omaha, NE 68103

                                                                                                                                                                  89,007.97
Account No.

Galen Technology Solutions, Inc.
100 Wall Street                                                                    -
New York, NY 10005

                                                                                                                                                                    5,400.00
Account No.

GE Financial
1800 South Springer Drive                                                          -
Lombard, IL 60148

                                                                                                                                                                    1,334.35
Account No.

Genesis Building Limited
Dalad Group, Attn Lloyd Mazur                                                      -
6200 Rockside Woods Blvd, #105
Independence, OH 44131
                                                                                                                                                                  27,717.40
Account No.

George Arzt Communications Inc
123 William Street                                                                 -
22nd Floor
New York, NY 10038
                                                                                                                                                                  61,000.00

           18 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                184,459.72
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Global Vantedge
PO Box 940                                                                         -
Brookfield, WI 53008-0940

                                                                                                                                                                      995.23
Account No.

Glyph Language Services
126 NW Canal Street, Suite 110                                                     -
Seattle, WA 98107

                                                                                                                                                                    4,365.54
Account No.

Good Technology Inc
Dept CH 17433                                                                      -
Palatine, IL 60055-7433

                                                                                                                                                                    2,339.94
Account No.

Greater Miami Caterers
4001 N.W. 31st Avenue                                                              -
Miami, FL 33142

                                                                                                                                                                      819.89
Account No.

Groove Networks,Inc
100 Cummings Center/Suite 535Q                                                     -
Attn: Rachel Bradford-Warfel
Beverly, MA 01915
                                                                                                                                                                100,719.61

           19 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                109,240.21
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

GS Equities, LLC
PO Box 31-1807                                                                     -
Detroit, MI 48231-1807

                                                                                                                                                                    3,046.12
Account No.

Guarino & Associates
1 Windy Hill                                                                       -
Cleveland, OH 44094

                                                                                                                                                                        30.00
Account No.

Halsey, Rains and Associates
415 Second St., NE, Suite 100                                                      -
Washington, DC 20002

                                                                                                                                                                  10,239.18
Account No.

Harcourt Assessment, Inc.
Customer Service                                                                   -
PO Box 708912
San Antonio, TX 78270-8912
                                                                                                                                                                228,775.46
Account No.

Harris Interactive
135 Corporate Woods                                                                -
Rochester, NY 14623-1457

                                                                                                                                                                    4,750.00

           20 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                246,840.76
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Harris Mc Cully Associates
99 Park Avenue, 18th Floor                                                         -
New York, NY 10016

                                                                                                                                                                    4,000.00
Account No.

Headsprout
127 Broadway East - Suite 300                                                      -
Seattle, WA 98102

                                                                                                                                                                    1,088.00
Account No.

Heart to Heart Floral Decorations
5 Beaver Street                                                                    -
New York, NY 10004

                                                                                                                                                                    1,089.16
Account No.

Holland & Knight LLP
2099 Pennsylvania Ave N.W.                                                         -
Suite 100
Washington, DC 20006
                                                                                                                                                                  94,312.98
Account No.                                                                                Subject to setoff.

Hudson Bay Environments
One Fordham Plaza                                                                  -
Bronx, NY 10458-5871

                                                                                                                                                                175,571.40

           21 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                276,061.54
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

iKnowthat.com Inc.
2100 Wharton Street                                                                -
Suite 625
Pittsburgh, PA 15203
                                                                                                                                                                      398.00
Account No.

IKON Document Services (PA)
PO Box 827457                                                                      -
Philadelphia, PA 19182-7457

                                                                                                                                                                  29,709.09
Account No.

Ikon Financial Services
PO Box 41564                                                                       -
Philadelphia, PA 19101-1564

                                                                                                                                                                    6,446.75
Account No.

Ikon Office Solutions - IL
1600 Solutions Center                                                              -
Chicago, IL 60677-1005

                                                                                                                                                                      884.25
Account No.

Image Access Corp
252 Hudson Street                                                                  -
Hackensack, NJ 07601

                                                                                                                                                                  17,340.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  54,778.09
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Innovative Systems
Five Valley Square, Suite 225                                                      -
512 Township Line Road
Blue Bell, PA 19422
                                                                                                                                                                142,174.46
Account No.

IntellAgent Solutions LLC
107 Max Ct. SE                                                                     -
Leesburg, VA 20175

                                                                                                                                                                  56,606.64
Account No.

Intellinet
Two Concourse Parkway                                                              -
Atlanta, GA 30328

                                                                                                                                                                171,220.69
Account No.

Interwoven
Attn: Reena Prasad                                                                 -
803 11th Avenue
Sunnyvale, CA 94089
                                                                                                                                                                  90,918.00
Account No.

IRP-Lincoln Atlanta Assocs LLC
100 Peachtree Street                                                               -
Suite 1810
Atlanta, GA 30303
                                                                                                                                                                  16,176.60

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                477,096.39
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

ISGI
94 North Elm Street Suite 303                                                      -
Westfield, MA 01085

                                                                                                                                                                  23,484.44
Account No.

Jaros Baum & Bolles
80 Pine Street                                                                     -
New York, NY 10005

                                                                                                                                                                    8,437.14
Account No.

Jasculca/Terman & Assocs, Inc.
730 North Franklin Street                                                          -
Suite 510
Chicago, IL 60610
                                                                                                                                                                  52,623.26
Account No.

Jessica Payne
6617 Telegraph Ave # 3                                                             -
Oakland, CA 94609

                                                                                                                                                                      134.65
Account No.

Jofaz Transportation
1 Coffey Street                                                                    -
Brooklyn, NY 11231

                                                                                                                                                                    3,750.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  88,429.49
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

JRH Solutions
208 Popolo Drive                                                                   -
Las Vegas, NV 89138

                                                                                                                                                                  37,551.36
Account No.

Justin Wolf
390 19th Street                                                                    -
2nd Floor
Brooklyn, NY 11215
                                                                                                                                                                      100.00
Account No.

K.L. Holdings LLC
PO Box 827124                                                                      -
Philadelphia, PA 19182-7124

                                                                                                                                                                    3,671.25
Account No.                                                                            K.L. Holdings LLC
                                                                                       PO Box 1906
Additional Notice:                                                                     Cherry Hill, NJ 08034
K.L. Holdings LLC




Account No.

Karen Migdale
21 Leroy Street, Apt. 23                                                           -
New York, NY 10014

                                                                                                                                                                        20.00

           25 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  41,342.61
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
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Karplus & Nussbaum Architects, P.C
800 3rd Ave.                                                                       -
New York, NY 10022-7604

                                                                                                                                                                  11,297.86
Account No.

Kastle Systems
PO Box 75327                                                                       -
Baltimore, MD 21275-5327

                                                                                                                                                                      389.43
Account No.

KB Toys Wholesale Inc
100 West St                                                                        -
Pittsfield, MA 01201

                                                                                                                                                                240,872.00
Account No.

Kellwood/Phat Farm
512 7th Avenue                                                                     -
29th Floor
New York, NY 10018
                                                                                                                                                                    8,233.83
Account No.

Korn Ferry International
1900 Avenue of the Stars                                                           -
26th Floor
Los Angeles, CA 90067
                                                                                                                                                                273,811.00

           26 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                534,604.12
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                            Christine Donovan, Esq.                                 E
                                                                                       The Donovan Group                                       D
Additional Notice:
Korn Ferry International                                                               2920 Newport Blvd., Ste. B
                                                                                       Newport Beach, CA 92663




Account No.

Lagaceta
PO Box 5536                                                                        -
Tampa, FL 33675

                                                                                                                                                                      412.50
Account No.

Laidlaw Transit, Inc.
3349 Highway 138                                                                   -
Bldg A, Suite D
Wall Township, NJ 07719
                                                                                                                                                                    1,228.80
Account No.

Lake Business Products
37200 Research Drive                                                               -
Eastlake, OH 44095

                                                                                                                                                                        61.63
Account No.

Lanak & Hanna, P.C. Client Trust
Account                                                                            -
400 North Tustin Avenue
Santa Ana, CA 92705
                                                                                                                                                                    9,892.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  11,594.93
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Layer 7 Networks LLC
7 Van Wyk Road                                                                     -
Lake Hiawatha, NJ 07034

                                                                                                                                                                  12,615.73
Account No.

Lester, Inc.
19 Business Park Drive                                                             -
A/R Dept.
Branford, CT 06405
                                                                                                                                                                    3,575.50
Account No.

LexisNexis
PO Box 7247-7090                                                                   -
Philadelphia, PA 19170-7090

                                                                                                                                                                    5,176.27
Account No.

Littler Mendelson
PO Box 45547                                                                       -
San Francisco, CA 94145-0547

                                                                                                                                                                  26,176.08
Account No.

Lorain Board of Education
2350 Pole Avenue                                                                   -
Lorain, OH 44052

                                                                                                                                                                      250.75

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  47,794.33
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Louisiana Dept of Revenue
PO Box 201                                                                         -
Baton Rouge, LA 70821-0201

                                                                                                                                                                      296.66
Account No.

M5 Networks
245 West 17th Street                                                               -
9th Floor
New York, NY 10011
                                                                                                                                                                  27,318.93
Account No.

Macromedia
600 Townsend Street                                                                -
San Francisco, CA 94103

                                                                                                                                                                  10,729.13
Account No.

Magnetic Springs
PO Box 182076                                                                      -
Columbus, OH 43218-2076

                                                                                                                                                                        99.33
Account No.

Managerial Design Corporation
1033 Solutions Center                                                              -
Chicago, IL 60677-1000

                                                                                                                                                                225,773.78

           29 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                264,217.83
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

MegaPath Networks Inc
PO Box 120324 Dept 0324                                                            -
Dallas, TX 75312-0324

                                                                                                                                                                    4,542.30
Account No.

Melwood Springs Water
200 Georgia Crown Drive                                                            -
McDonough, GA 30253

                                                                                                                                                                        10.70
Account No.

Merrill Communications LLC
Attn: Dale Hein                                                                    -
One Merrill Circle
Saint Paul, MN 55108
                                                                                                                                                                  70,763.58
Account No.

Metropolis Group Inc.
299 Broadway, Suite 600                                                            -
New York, NY 10007

                                                                                                                                                                    2,661.20
Account No.

MicroTek
2001 Butterfield Road                                                              -
Suite 1500
Downers Grove, IL 60515
                                                                                                                                                                  61,224.52

           30 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                139,202.30
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Mid Hudson Photo ID
10 Ulster Avenue                                                                   -
Ulster Park, NY 12487

                                                                                                                                                                      233.27
Account No.

Monster
PO Box 34649                                                                       -
Newark, NJ 07189

                                                                                                                                                                  12,075.00
Account No.

MTI
17595 Cartwright Road                                                              -
Attn: Todd Williams
Irvine, CA 92614
                                                                                                                                                                132,301.54
Account No.

MWH #14 Corporation
c/o TA Realty Corp.                                                                -
28 State Street, 10th Floor
Boston, MA 02109
                                                                                                                                                                  17,623.96
Account No.

Naimi Lundi
234 Matthews Dr.                                                                   -
Newark, NJ 07103

                                                                                                                                                                      500.00

           31 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                162,733.77
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                     INCLUDING ZIP CODE,
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

National Organization of African
America                                                                            -
507 Capital Court, NE
Washington, DC 20002
                                                                                                                                                                    6,250.00
Account No.

NCS Pearson
Attn: Jack Kielkucki                                                               -
1313 Loan Oak Drive
Eagan, MN 55121
                                                                                                                                                                146,976.75
Account No.

Net Impact
660 Market Street - Suite 210                                                      -
San Francisco, CA 94104

                                                                                                                                                                      600.00
Account No.

Nether Carter, Title I PAC
                                                                                   -



                                                                                                                                                                      150.00
Account No.

New York Times
PO Box 371456                                                                      -
Pittsburgh, PA 15250-7456

                                                                                                                                                                        38.00

           32 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                154,014.75
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Nextel Communications
PO Box 17621                                                                       -
Baltimore, MD 21297-1621

                                                                                                                                                                    8,000.00
Account No.                                                                            Nextel of New York Inc.
                                                                                       2001 Edmund Halley Drive
Additional Notice:
                                                                                       Reston, VA 20191
Nextel Communications




Account No.                                                                            Nextel of New York, Inc.
                                                                                       565 Taxter Road
Additional Notice:                                                                     Elmsford, NY 10523
Nextel Communications




Account No.

Nixon Peabody LLP
437 Madison Avenue                                                                 -
New York, NY 10022

                                                                                                                                                                180,000.00
Account No.

Nomadic Display
475 Fifth Avenue                                                                   -
24th Floor
New York, NY 10017
                                                                                                                                                                    5,459.24

           33 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                193,459.24
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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Account No.                                                                                                                                    E
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Oakwood Corporate Housing
004217 Collections Center Dr                                                       -
Chicago, IL 60693

                                                                                                                                                                  16,978.55
Account No.

PA-1601 Market Street LP
1601 Market Street                                                                 -
Suite 2220
Philadelphia, PA 19103
                                                                                                                                                                    6,250.00
Account No.

Pacific Pointe Office Twr LLC
5959 Topanga Canyon Blvd                                                           -
Suite 200
Woodland Hills, CA 91367
                                                                                                                                                                    5,748.65
Account No.                                                                            Younan Properties Inc.
                                                                                       PO Box 31001-1830
Additional Notice:                                                                     Pasadena, CA 91110
Pacific Pointe Office Twr LLC




Account No.

Park Central New York
870 7th Avenue                                                                     -
New York, NY 10019

                                                                                                                                                                  27,328.54

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  56,305.74
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Pax Wholesome Foods
1776 Broadway                                                                      -
New York, NY 10019

                                                                                                                                                                    2,350.90
Account No.

pbm/cmsi
1466 Broadway                                                                      -
New York, NY 10036

                                                                                                                                                                    4,116.56
Account No.

Pearson Education
200 Old Tappan Road                                                                -
Old Tappan, NJ 07675

                                                                                                                                                                151,385.09
Account No.

Penton Technology Media
2420 Reliable Parkway                                                              -
Chicago, IL 60686-0024

                                                                                                                                                                        83.00
Account No.

People Finders Plus
295 Madison Avenue                                                                 -
New York, NY 10017

                                                                                                                                                                  19,220.13

           35 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                177,155.68
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

People's Station AM1200 WCHB
PO Box 92266                                                                       -
Cleveland, OH 44193

                                                                                                                                                                    2,400.00
Account No.

Philosophy IB
25 A Vreeland Road                                                                 -
Suite 100
Florham Park, NJ 07932
                                                                                                                                                                818,269.04
Account No.

Plymouth Partners LP
815 W. Van Buren                                                                   -
Chicago, IL 60607

                                                                                                                                                                    4,217.13
Account No.

Poland Spring
2767 E Imperial Hwy                                                                -
Brea, CA 92821

                                                                                                                                                                        35.33
Account No.

Premiere Global Services
PO Box 404351                                                                      -
Atlanta, GA 30384-4351

                                                                                                                                                                    3,619.97

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                828,541.47
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
                                                                                                                                               D

Print Media
350 7th Avenue                                                                     -
12th Floor
New York, NY 10001
                                                                                                                                                                246,748.76
Account No.

Progressive Business Publications
PO Box 3019                                                                        -
Malvern, PA 19355

                                                                                                                                                                        94.56
Account No.

Prudential Financial
PO Box 841337                                                                      -
Dallas, TX 75284

                                                                                                                                                                241,594.53
Account No.                                                                            Joseph Clasen, Esq.
                                                                                       Robinson & Cole
Additional Notice:                                                                     695 East Main Street
Prudential Financial                                                                   Stamford, CT 06904-2305




Account No.

Quality Education Data
1625 Broadway, Suite 250                                                           -
Denver, CO 80202

                                                                                                                                                                    1,295.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                489,732.85
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

R.R. Bowker
630 Central Aveune                                                                 -
New Providence, NJ 07974-1606

                                                                                                                                                                      139.65
Account No.

Recruitmax Software, Inc.
c/o Mark Silverman, Vurv Techn                                                     -
7600 Centurian Pkwy, Ste. 100
Jacksonville, FL 32256
                                                                                                                                                                231,114.00
Account No.

Rehabil. Instit. of Michigan
Office of Development                                                              -
Rm 810, 261 Mack Blvd
Detroit, MI 48201
                                                                                                                                                                    1,000.00
Account No.

Remington International
Attn: Deborah Maggio                                                               -
206 Newberry St
Boston, MA 02116
                                                                                                                                                                  15,500.00
Account No.

Resolve Corporation
Attn: Mark Sollenberger                                                            -
20770 Westwood Drive
Strongsville, OH 44149
                                                                                                                                                                135,000.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                382,753.65
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Resource Management Group
Attn: Shirin Kazemi                                                                -
177 Broad Street 11th Floor
Stamford, CT 06901
                                                                                                                                                                  22,000.00
Account No.

RRF V Tri City LP
c/o Glenborough                                                                    -
400 S. El Camino Real, Ste 100
San Mateo, CA 94402-1708
                                                                                                                                                                    2,876.60
Account No.

Russell Reynolds Assoc.
200 Park Avenue                                                                    -
New York, NY 10166-7018

                                                                                                                                                                185,953.47
Account No.

SBC Bill Payment Center - MI
Bill Payment Center                                                                -
Saginaw, MI 48663-0003

                                                                                                                                                                      926.82
Account No.

Scholastic Inc.
557 Broadway                                                                       -
New York, NY 10012

                                                                                                                                                              2,896,335.61

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                              3,108,092.50
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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                 06-11391-rdd                    Doc 1           Filed 06/21/06 Entered 06/21/06 17:12:16                              Main Document
                                                                               Pg 64 of 138
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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Secure Check
190 North Union Street                                                             -
Suite 101
Akron, OH 44304
                                                                                                                                                                      520.00
Account No.

Shaker Recruitment Ad. & Comm.
1100 Lake Street                                                                   -
Oak Park, IL 60301-1015

                                                                                                                                                                  12,203.44
Account No.

Shen Milsom & Wilke
417 Fifth Avenue                                                                   -
New York, NY 10016

                                                                                                                                                                  15,065.60
Account No.

Shurgard of River West
947 West Van Buren                                                                 -
Chicago, IL 60607-3529

                                                                                                                                                                      168.00
Account No.

Sitel
PO Box 3480                                                                        -
Omaha, NE 68103-0480

                                                                                                                                                                  33,125.98

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  61,083.02
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 Form B6F - Cont.
 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
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                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

SonicWall Services
PO Box 30176                                                                       -
Los Angeles, CA 90030-9849

                                                                                                                                                                      124.63
Account No.

Sony Electronics
Sony Drive, MS:1E4                                                                 -
Attn: Lloyd Sarakin
Park Ridge, NJ 07656-8003
                                                                                                                                                                134,519.85
Account No.

Sprint
PO Box 79133                                                                       -
Phoenix, AZ 85062-9133

                                                                                                                                                                      370.82
Account No.

Sprint Recycling Inc.
605 West 48th Street                                                               -
New York, NY 10036

                                                                                                                                                                        95.36
Account No.

SRC Software
13190 SW 68th Pkwy                                                                 -
Portland, OR 97223

                                                                                                                                                                  26,978.59

           41 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                162,089.25
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Stacy Scott
Exec Results Consulting                                                            -
Phoenix, AZ 85022

                                                                                                                                                                  22,938.64
Account No.

Sungard Availability Services
PO Box 91233                                                                       -
Chicago, IL 60693

                                                                                                                                                                149,509.00
Account No.                                                                            SunGard Availability Services
                                                                                       680 E. Swedesford Road
Additional Notice:                                                                     Attn: Contract Administration
Sungard Availability Services                                                          Wayne, PA 19087




Account No.

SunTrust Center LLC
PO Box 532900 - Dept. 12281                                                        -
Atlanta, GA 30353-2900

                                                                                                                                                                  35,096.28
Account No.                                                                            SunTrust Center, LLC
                                                                                       c/o Equity Office
Additional Notice:                                                                     200 S. Orange Ave., Suite 2150
                                                                                       Orlando, FL 32801
SunTrust Center LLC




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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                207,543.92
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
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Account No.                                                                                                                                    E
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Suttle Straus
PO Box 370                                                                         -
Waunakee, WI 53597

                                                                                                                                                                463,170.28
Account No.

Taleo Corporation
1010 Northern Boulevard                                                            -
Suite 328
Great Neck, NY 11021
                                                                                                                                                                    2,970.00
Account No.

The David Allen Company
1674 McNell Road                                                                   -
Ojai, CA 93023

                                                                                                                                                                    9,440.44
Account No.

The Mirram Group, LLC
895 Broadway 5th Floor                                                             -
New York, NY 10003

                                                                                                                                                                  43,500.00
Account No.

The New York Times
PO Box 7777                                                                        -
Philadelphia, PA 19175-7770

                                                                                                                                                                        56.80

           43 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                519,137.52
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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Account No.                                                                                                                                    E
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The Translation Dept
PO BOX 303                                                                         -
DeKalb, IL 60115

                                                                                                                                                                    4,150.00
Account No.

The TreeLine 189 Partners
200 Garden City Plaza                                                              -
Suite 325
Garden City, NY 11530
                                                                                                                                                                    5,617.83
Account No.

Tiffany & Co.
PO Box 27389                                                                       -
New York, NY 10087-7389

                                                                                                                                                                    1,200.26
Account No.

Tiger Information Systems
Operations Center                                                                  -
PO BOX 8500-1206
Philadelphia, PA 19178-1206
                                                                                                                                                                  43,768.06
Account No.

Tom Snyder Productions
PO Box 34776                                                                       -
Newark, NJ 07189-4776

                                                                                                                                                                    2,800.00

           44 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  57,536.15
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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Account No.                                                                                                                                    E
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Tremain Nelson
17523 Kenton Crossing Lane                                                         -
Richmond, TX 77469

                                                                                                                                                                      115.87
Account No.

U.S. HealthWorks
PO Box 50042                                                                       -
Los Angeles, CA 90074

                                                                                                                                                                        44.00
Account No.

Uinta Business Systems
Department 1293                                                                    -
Denver, CO 80291

                                                                                                                                                                    8,350.90
Account No.

Ultimus
15200 Weston Parkway                                                               -
Suite 106
Cary, NC 27513
                                                                                                                                                                248,501.47
Account No.

UPS
PO Box 7247-0244                                                                   -
Philadelphia, PA 19170-0001

                                                                                                                                                                  14,503.02

           45 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                271,515.26
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
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Verizon Access Billing
PO Box 1100                                                                        -
Albany, NY 12250-0001

                                                                                                                                                                      614.74
Account No.

Verizon CA - (SB)
PO Box 9688                                                                        -
Mission Hills, CA 91346

                                                                                                                                                                      294.72
Account No.

Verizon California
PO Box 30001                                                                       -
Inglewood, CA 90313-0001

                                                                                                                                                                        74.18
Account No.

Verizon Florida
PO Box 920041                                                                      -
Dallas, TX 75392-0041

                                                                                                                                                                      857.95
Account No.

Verizon NJ
PO Box 4833                                                                        -
Trenton, NJ 08650-4833

                                                                                                                                                                      314.39

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                    2,155.98
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
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Account No.                                                                                                                                    E
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Verizon NY
PO Box 15124                                                                       -
Albany, NY 12212-5124

                                                                                                                                                                    1,451.48
Account No.

Verizon Wireless
PO Box 489                                                                         -
Newark, NJ 07101-0489

                                                                                                                                                                  18,181.74
Account No.

Verizon Wireless - MD
PO Box 17464                                                                       -
Baltimore, MD 21297-1464

                                                                                                                                                                      250.66
Account No.

VIP Gold
169 Bay 17th Street                                                                -
Brooklyn, NY 11214

                                                                                                                                                                    1,428.77
Account No.

VirtualEdge Corporation
1010 Stony Hill Road                                                               -                                                       X X X
Yardley, PA 19067

                                                                                                                                                                207,778.09

           47 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                229,090.74
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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 (10/05)




   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                                                                                                                                           N   A
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Account No.                                                                                                                                    E
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Voxeo Corporation
100 East Pine Street # 600                                                         -
Orlando, FL 32801

                                                                                                                                                                    4,115.38
Account No.

Wall Street Journal
PO Box 7007                                                                        -
Chicopee, MA 01021-9985

                                                                                                                                                                      150.00
Account No.

Washington State Treasurer
PO Box 9048                                                                        -
Olympia, WA 98507-9048

                                                                                                                                                                        15.00
Account No.

Westin Rinehart Group LLC
2001 Pennsylvania Ave, NW                                                          -
Suite 250
Washington, DC, DC 20006
                                                                                                                                                                124,415.05
Account No.

Wilson Sonsini Goodrich
PO Box 60000                                                                       -
San Francisco, CA 94160-3672

                                                                                                                                                                163,780.47

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                292,475.90
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
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                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                            Wilson Sonsini, et al.                                  E
                                                                                       650 Page Mill Road                                      D
Additional Notice:
Wilson Sonsini Goodrich                                                                Palo Alto, CA 94304-1050




Account No.

Winter, Wyman Financial Contracting
PO Box 845050                                                                      -
Boston, MA 02284-5050

                                                                                                                                                                  14,863.91
Account No.

Wireless Generation Inc
PO Box 9178                                                                        -
Uniondale, NY 11555-9178

                                                                                                                                                                      564.85
Account No.

Withum Smith & Brown (WS&B)
5 Vaughn Drive                                                                     -
Princeton, NJ 08540

                                                                                                                                                                    6,588.50
Account No.

WZAK 93.1 FM
2510 St Clair Avenue                                                               -
Cleveland, OH 44114

                                                                                                                                                                    2,100.00

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Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  24,117.26
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                  Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                      CREDITOR'S NAME,                                         O                                                           O   N   I
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                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
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Xerox Capital
PO Box 827181                                                                      -
Philadelphia, PA 19182-7181

                                                                                                                                                                    6,132.23
Account No.

Yara I Alma Bonilla
Urb.Hipodromo #1464                                                                -
c/Las Palmas, Apt. 2A
Santurce, PR 00909-2637
                                                                                                                                                                      180.00
Account No.

Yellow Transportation Inc
PO Box 13850                                                                       -
Newark, NJ 07188-0850

                                                                                                                                                                        95.00
Account No.

Yipes Enterprise Services Inc
Dept CH 17502                                                                      -
Palatine, IL 60055-7502

                                                                                                                                                                  10,823.48
Account No.

Zephyrhills
PO Box 52214                                                                       -
Phoenix, AZ 85072-2214

                                                                                                                                                                      745.91

           50 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                  17,976.62
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Platform Learning Inc.                                                                                        Case No.
                                                                                                                         ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




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                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
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Account No.                                                                                                                                           E
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Zero to Five LLC
650 Clovelly Lane                                                                  -
Devon, PA 19333

                                                                                                                                                                         29,000.00
Account No.




Account No.




Account No.




Account No.




           51 of _____
Sheet no. _____    51 sheets attached to Schedule of                                                                                            Subtotal
                                                                                                                                                                         29,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)           14,919,765.69


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(10/05)


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  In re             Platform Learning Inc.                                                                       Case No.
                                                                                                      ,
                                                                                      Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                            State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                  State contract number of any government contract.

                     45 Academy Street Associates                                        Nonresidential Real Property Lease
                     c/o Dubrow Management                                               45 Academy Street
                     45 Academy Street, Suite 200                                        Suite 301
                     Newark, NJ 07102                                                    Newark, NJ 07102
                                                                                         Lease Term 11/05-11/06

                     Abrams Family Investments LLC                                       Nonresidential Real Property Lease
                     c/o United Ins. Co. of America                                      7674 W Lake Mead Blvd
                     7674 W. Lake Mead Blvd, #104                                        Suite 210
                     Las Vegas, NV 89128                                                 Las Vegas, NV 89128
                                                                                         Lease Term: 09/05-06/10

                     Adecco USA, Inc.                                                    Services Agreement - Temporary Employees
                     175 Broad Hollow Road                                               Dated as of October 1, 2004
                     Melville, NY 11747

                     ADP National Account Services                                       eTime Agreement - Time and Labor Management
                     Attn: Bryan Webb                                                    Services
                     10407 Centurian Pky N, Ste 400                                      Agreement dated as of June 24, 2005
                     Jacksonville, FL 32256

                     Akron Board of Education                                            SES Contract
                     70 N. Broadway                                                      Term: 11/1/05-6/30/06
                     Akron, OH 44308

                     American Building Maintenance                                       Exterminating, Light Maintenance and Janitorial
                     551 Fifth Avenue, Suite 300                                         Services - 55 Broad Street, New York, NY - 25th
                     New York, NY 10176                                                  Floor

                     AXA Corp Solutions Reinsurance                                      Nonresidential Real Property Lease - Sublease
                     17 State Street                                                     17 State Street, 32nd Floor
                     38th Floor                                                          New York, NY 10004
                     New York, NY 10004                                                  Lease Term 12/04-07/12

                     Bd of Sch Insp. - Joliet PS                                         SES Contracts
                     420 N. Raynor Avenue                                                Term: 12/23/05-6/30/06
                     Attention: Ms. Carol Sossong
                     Joliet, IL 60435

                     BOE for the City of Detroit                                         SES Contract
                     Fisher Building                                                     Term: 9/19/05-5/26/06
                     7307 Second Ave., 10th Floor
                     Detroit, MI 48202

                     BOE of the City of Chicago                                          SES Contract
                     Office of After School & Commu                                      11/8/05-6/30/06
                     125 South Clark, 10th Floor
                     Chicago, IL 60603



       6         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    BOE of the Cleveland Mun. SD                                                   SES Contract
                    1380 E. Sixth Street                                                           Term: 11/7/05-6/7/06
                    Cleveland, OH 44114

                    Canon Fin. Services, Inc.                                                      Photocopier      Leases
                    15325 S.E. 30th Place                                                          Copier           Serial No.
                    Suite 100                                                                      1 DR 9080C       CZ 303531
                    Bellevue, WA 98007                                                             1 IR 5020        JCT 19433
                                                                                                   1 IRC 3220       JNC 12370
                                                                                                   2 IR 5020        JCT 20892
                                                                                                   2 IR 5020        JCT 20899
                                                                                                   2 IRC 3220       JNC 11095
                                                                                                   2 IRC 3220       JNC 12795
                                                                                                   2 DR 9080C       CZ 304176
                                                                                                   3 DR 9080C       CZ 304455
                                                                                                   3 IR 5570        KHT 01637
                                                                                                   3 IRC 3220       JNC 12777
                                                                                                   4 IRC 3220       JCN 02547
                                                                                                   4 IRC 3220       JNC 01207
                                                                                                   4 IRC 3220       JNC 01600
                                                                                                   4 IRC 3220       JNC 02463

                    Citicorp Vendor Finance, Inc                                                   Photocopier      Leases
                    One International Boulevard                                                    Copier           Serial No.
                    Mahwah, NJ 07430-0631                                                          7 IR 5000        MPL00302
                                                                                                   8 IR 5000        MPL24018
                                                                                                   9 IR 5000        MPL77769
                                                                                                   10 IR 5000       MPL75807
                                                                                                   11 I R 5000      MPL76401
                                                                                                   12 IR 5000       MPL75917
                                                                                                   13 IR 5000
                                                                                                   14 IR 5000       MPL74936
                                                                                                   15 IR 5000
                                                                                                   161RC3220        JNC06169

                    City of Bridgeton BOE                                                          SES Contract
                    41 Bank Street                                                                 2005-2006 School Yr
                    Bridgeton, NJ 08302

                    City of Camden BOE                                                             SES Contract
                    201 N. Front Street                                                            Term 2005-2006 School Year.
                    Camden, NJ 08102

                    Clark County School District                                                   SES Contract
                    Dr. Susan Wright, Dir. Title I                                                 Term: 10/24/05-5/15/06
                    515 W. Cheyenne Avenue
                    North Las Vegas, NV 89030

                    Cogent Communications, Inc.                                                    Network Services
                    1015 31st Street, N.W.
                    Washington, DC 20007




     Sheet      1      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    Computer Generated Solutions                                                   Master Services Agreement - IT Support
                    3 World Financial Center                                                       Dated as of March 4, 2005
                    200 Vesey Street, 27th Floor
                    New York, NY 10281

                    CSFB 1998-P1 Griswold Office                                                   Nonresidential Real Property Lease
                    c/o Finsilver/Friedman Mgmt                                                    645 Griswold St
                    34975 W. Twelve Mile Rd, #100                                                  Suite 2056
                    Farmington Hills, MI 48331                                                     Detroit, MI 48226
                                                                                                   Lease Term: 07/04-09/09

                    Dell Financial Services                                                        Equipment Lease Nos.
                    99355 Collections Center Drive                                                 001-006361067-002
                    Chicago, IL 60693                                                              001-006361067-003

                    East Detroit Public Schools                                                    SES Contract
                    c/o Joanne C. Lelekatch                                                        10/21/05-6/15/06
                    15115 Deerfield
                    Eastpointe, MI 48021

                    Ernst & Young U.S. LLP                                                         Nonresidential Real Property Lease - Sublease
                    5 Times Square                                                                 55 Broad Street
                    New York, NY 10036                                                             New York, NY 10004
                                                                                                   Lease Term - 08/03-08/09

                    Eugene V. Wade, Jr.                                                            Noncompetition and Nondisclosure Agreement
                    55 Broad Street                                                                dated as of July 22, 2004
                    25th Floor
                    New York, NY 10004

                    Evolut. Strategic Planning Inc                                                 Nonresidential Real Property Lease - Sublease
                    189 Montague Street                                                            (Debtor is Sublandlord)
                    Brooklyn, NY 11201                                                             189 Montague St
                                                                                                   Suite 900
                                                                                                   Brooklyn, NY 11201
                                                                                                   Lease Term: 08/05-07/09

                    FBEC-Brickell Key Centre LP                                                    Nonresidential Real Property Lease
                    c/o Jones Lang LaSalle Mgt Svc                                                 601 Brickell Key Drive
                    601 Brickell Key Dr, Ste 101                                                   Ste 200
                    Miami, FL 33131                                                                Miami, FL 33131
                                                                                                   Lease Term: 06/05-06/10

                    Flagler Development Company                                                    Nonresidential Real Property Lease
                    10151 Deerwood Park Boulevard                                                  10151 Deerwood Park Blvd
                    Building 100, Suite 330                                                        Bldg 100, Ste 210
                    Jacksonville, FL 32256                                                         Jacksonville, FL 32256
                                                                                                   Lease Term: 07/05-01/11




     Sheet      2      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    Genesis Building Limited                                                       Nonresidential Real Property Lease
                    6200 Rockside Woods Blvd                                                       6000 Lombardo Center
                    Suite 105                                                                      Suite 120
                    Independence, OH 44131                                                         Seven Hills, OH 44131
                                                                                                   Lease Term: 07/05-06/10

                    IOS Capital Inc.                                                               Photocopier Leases:
                    1738 Bass Road
                    Macon, GA 31210                                                                Copier                           Serial No.

                                                                                                   5   Imagerunner 110              NQU 00109
                                                                                                   5   IR 1370F 0                   MNT 06127
                                                                                                   5   IR 2010F                     MRU 04019
                                                                                                   5   IR 2010F                     MRU 04035
                                                                                                   5   IR 2010F                     MRU 04037
                                                                                                   5   IR 2010F                     MRU 04023
                                                                                                   5   IR 2010F                     MRU 000154
                                                                                                   5   IR 2010F                     MRU 04185
                                                                                                   5   IR 2010F                     MRU 03443

                    IRP-Lincoln Atlanta Assocs LLC                                                 Nonresidential Real Property Lease
                    100 Peachtree Street                                                           100 Peachtree Street
                    Suite 1810                                                                     Suite 417
                    Atlanta, GA 30303                                                              Atlanta, GA 30303
                                                                                                   Lease Term: 07/04-06/07

                    Jasculca Terman & Associates                                                   Strategic Public Affairs Services
                    730 N. Franklin Street
                    Suite 510
                    Chicago, IL 60610-7204

                    Jason Todd Green                                                               Employment Contract
                    610 Dean Street
                    Apt. #3
                    Brooklyn, NY 11238

                    Joseph A. Sorisi                                                               Separation Agreement
                    2 Dolly Cam Lane
                    Old Brookville, NY 11545

                    Juan Torres                                                                    Noncompetition and Nondisclosure Agreement
                    55 Broad Street                                                                dated as of July 22, 2004
                    25th Floor
                    New York, NY 10004

                    K.L. Holdings LLC                                                              Nonresidential Real Property Lease
                    PO Box 1906                                                                    800-840 Cooper Street
                    Cherry Hill, NJ 08034                                                          Bridgeview, Suite 101
                                                                                                   Camden, NJ 08102
                                                                                                   Lease Term - 12/04-11/06




     Sheet      3      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    Lorain BOE                                                                     SES Contract
                    Charleston Administrative Ctr                                                  11/22/05-6/30/06
                    2350 Pole Avenue
                    Lorain, OH 44052

                    Los Angeles Unified Sch Dist                                                   SES Contract
                    333 S. Beaudry, 28th Floor                                                     Term: 9/1/05-6/6/06
                    Attn: John Liechty
                    Los Angeles, CA 90017

                    M5 Networks                                                                    Telecommunications Services
                    245 W. 17th Street
                    9th Floor
                    New York, NY 10011

                    Mark Boyland                                                                   Employment Contract
                    48 Sunset Drive
                    Chatham, NJ 07928

                    Mark R. Fischer                                                                Separation Agreement
                    80 Woodchuck Hollow Road
                    Cold Spring Harbor, NY 11724

                    Matthew Mugo Fields                                                            Employment Contract
                    120 E. 116th Street
                    Apt. 3R
                    New York, NY 10029

                    Microsoft Corporation                                                          Volume Licensing Agreements
                    Corporate Headquarters                                                         Master Nos. 01S67097, 01S6A531
                    One Microsoft Way
                    Redmond, WA 98052-6399

                    MirRam Group LLC                                                               Master Consultant Agreement - Government
                    895 Broadway, 5th Floor                                                        Relations Services
                    New York, NY 10003                                                             Dated as of April 1, 2005

                    MWH #14 Corporation                                                            Nonresidential Real Property Lease
                    c/o TA Realty Corp.                                                            1715 N. Westshore Blvd
                    28 State Street, 10th Floor                                                    Suite 940
                    Boston, MA 02109                                                               Tampa, FL 33607
                                                                                                   Lease Term: 07/05-07/10

                    New York City BOE                                                              SES Contract
                    Ofc of Dep Chancellor for Teac                                                 Term: 9/1/05-8/31/08
                    52 Chambers St., 3rd Room 205
                    New York, NY 10007

                    Nextel of New York, Inc.                                                       Wireless Telecommunication Contract
                    565 Taxter Road
                    Elmsford, NY 10523




     Sheet      4      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    Pacific Pointe Office Twr LLC                                                  Nonresidential Real Property Lease
                    5959 Topanga Canyon Blvd                                                       879 West 190th St
                    Suite 200                                                                      Suite 929
                    Woodland Hills, CA 91367                                                       Gardena, CA 90248
                                                                                                   Lease Term: 09/04-08/09

                    Paychex, Inc.                                                                  Various Agreements relating to payroll and
                    Corporate Headquarters                                                         related services
                    911 Panorama Trail South
                    Rochester, NY 14625-0397

                    Plymouth Partners LP                                                           Nonresidential Real Property Lease
                    815 W. Van Buren                                                               815 West Van Buren St
                    Chicago, IL 60607                                                              Suite 215
                                                                                                   Chicago, IL 60607
                                                                                                   Lease Term: 06/04-08/07
                                                                                                   Unpaid Amount $ 1,228.76

                    Radice III, LLC                                                                Nonresidential Real Property Lease
                    c/o Exch. of Ft Lauderdale LLC                                                 1000 Corporate Drive
                    1500 W. Cypress Creek Rd.,#409                                                 Suite 100
                    Fort Lauderdale, FL 33309                                                      Ft Lauderdale, FL 33334
                                                                                                   Lease Term: 01/06-01/11

                    Relational LLC                                                                 Computer Equipment Leases
                    101 Federal Street
                    Suite 1900
                    Boston, MA 02110

                    Ron Mason                                                                      Separation Agreement
                    303 Bliss Lane
                    Valley Cottage, NY 10989

                    RRF V Tri City LP                                                              Nonresidential Real Property Lease
                    c/o Glenborough                                                                650 East Hospitality Lane
                    400 S. El Camino Real, Ste 100                                                 Suite 360
                    San Mateo, CA 94402-1708                                                       San Bernardino, CA 92408
                                                                                                   Lease Term: 01/05-12/07

                    San Bernardino City USD                                                        SES Contract
                    777 North F Street                                                             Term: 10/1/05-6/30/06
                    San Bernardino, CA 92410

                    State-Oper Sch Dist - JC                                                       SES Contract
                    346 Claremont Avenue                                                           Term: 10/15/05-
                    Jersey City, NJ 07305

                    State-Oper Sch Dist - Newark                                                   SES Contract
                    2 Cedar Street                                                                 Term: 9/1/05-8/31/06
                    Newark, NJ 07102




     Sheet      5      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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  In re          Platform Learning Inc.                                                                                    Case No.
                                                                                                                ,
                                                                                               Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                      (Continuation Sheet)


                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                         State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                               State contract number of any government contract.
                    Stephen Murray                                                                 Consulting Agreement
                    647 Westchester Road                                                           Term through July 14, 2006
                    Colchester, CT 06415

                    Steven J. Murray                                                               Employment Contract
                    647 Westchester Road
                    Colchester, CT 06415

                    SunGard Availability Services                                                  Master Agreement for U.S. Availability Services -
                    680 E. Swedesford Road                                                         Network Continuity Services
                    Attn: Contract Administration                                                  Dated as of January 6, 2005
                    Wayne, PA 19087

                    SunTrust Center, LLC                                                           Nonresidential Real Property Lease
                    c/o Equity Office                                                              200 South Orange Ave
                    200 S. Orange Ave., Suite 2150                                                 Suite 200
                    Orlando, FL 32801                                                              Orlando, FL 32801
                                                                                                   Lease Term: 09/05-06/10

                    The TreeLine 189 Partners                                                      Nonresidential Real Property Lease
                    200 Garden City Plaza                                                          189 Montague St
                    Suite 325                                                                      Suite 900
                    Garden City, NY 11530                                                          Brooklyn, NY 11201
                                                                                                   Lease Term: 06/04-07/09

                    V-Cube U.S.A., Inc.                                                            Nonresidential Real Property Lease - Sublease
                    879 W. 190th St, Ste 929                                                       (Debtor is Sublandlord)
                    Attn: Masako Iwata                                                             879 West 190th St
                    Gardena, CA 90248                                                              Suite 929
                                                                                                   Gardena, CA 90248
                                                                                                   Lease Term: 01/15/06-08/09

                    Verizon Wireless                                                               Mobile Telecommunication Services - Account
                    Attn: Customer Service                                                         No. 108547204 (Agreement dated August 23, 2005)
                    PO Box 554                                                                     and Account No. 620274335-00001
                    Warrendale, PA 15086-0553

                    VirtualEdge Corporation                                                        Master Agreement for Products and Services -
                    1010 Stony Hill Road                                                           Software Products
                    Yardley, PA 19067                                                              Dated as of August 3, 2005

                    Xerox Capital Services LLC                                                     Photocopier Leases
                    PO Box 660501                                                                  Copier          Serial No.
                    Dallas, TX 75266-0501                                                          6 Work Centre              MTE 016022
                                                                                                   Pro 90 C

                    Zero to Five LLC                                                               Public Relations
                    650 Clovelly Lane
                    Devon, PA 19333




     Sheet      6      of 6         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases

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Form B6H
(10/05)


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  In re          Platform Learning Inc.                                                                     Case No.
                                                                                                    ,
                                                                                      Debtor

                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                   NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR

                   Ascend Venture Group, LLC                                             Silicon Valley Bank
                   1500 Broadway, 14th Floor                                             221 Washington St., Ste. 200
                   New York, NY 10036                                                    One Newton Executive Park
                     Limited Guaranty                                                    Newton, MA 02462

                   Capital Resource Partners V                                           Silicon Valley Bank
                   85 Merrimac Street                                                    221 Washington St., Ste. 200
                   Suite 200                                                             One Newton Executive Park
                   Boston, MA 02114                                                      Newton, MA 02462
                     Limited Guaranty

                   Quad Venture Partners                                                 Silicon Valley Bank
                   650 Fifth Avenue                                                      221 Washington St., Ste. 200
                   31st Floor                                                            One Newton Executive Park
                   New York, NY 10019                                                    Newton, MA 02462
                     Limited Guaranty




       0       continuation sheets attached to Schedule of Codebtors

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Official Form 6-Decl.
(10/05)

                                                                  United States Bankruptcy Court
                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                            Case No.
                                                                                             Debtor(s)         Chapter      11




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                       I, the President of the corporation named as debtor in this case, declare under penalty of perjury that I have
             read the foregoing summary and schedules, consisting of 72 sheets [total shown on summary page plus 1], and
             that they are true and correct to the best of my knowledge, information, and belief.




 Date June 21, 2006                                                             Signature    /s/ Juan Torres
                                                                                             Juan Torres
                                                                                             President

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                               Case No.
                                                                                             Debtor(s)            Chapter        11


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $57,998,879.00                           SES Revenue - Year Ending 6/05
                           $30,035,903.00                           SES Revenue - Current Fiscal Year

                  2. Income other than from employment or operation of business

    None          State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     n            during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE



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                                                                                                                                                          2

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.
     n
               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                         AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS               AMOUNT PAID                 OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     o         immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                               AMOUNT
                                                                                   DATES OF                     PAID OR
                                                                                   PAYMENTS/                  VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                 TRANSFERS                OWING
 Adecco                                                                                                   $6,807,767.09                 $0.00
 175 Broad Hollow Road
 Melville, NY 11747

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
     o         creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                    DATE OF PAYMENT        AMOUNT PAID                  OWING
 Capital Resource Mgmt-Special Purposes                                            7/5/2005                $352,701.00                $8,269.99
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
 Capital Resource Mgmt-Special Purposes                                            9/30/2005                 $285,262.00               $8,269.99
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
 Capital Resource Mgmt-Special Purposes                                            12/30/2005                $287,449.00               $8,269.99
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
 Stichting Pensioenfonds ABP                                                       12/30/2005                $124,437.00                     $0.00
 Jachthavenweg 118
 1081 KJ Amsterdam
 Stichting Pensioenfonds ABP                                                       12/30/2005                 $20,739.00                     $0.00
 Jachthavenweg 118
 1081 KJ Amsterdam




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               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     o         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY               STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                  DISPOSITION
 Radice III, LLC vs. Platform                    Civil Action                                Circuit Court of the 17th     Pending
 Learning                                                                                    Judicial Circuit
 Case No. 0604980                                                                            Broward County, Florida
 Philosophy IB, LLP v.                           Civil Action                                Superior Court of New Jersey Pending
 Platform Learning                                                                           Morris County
 Docket No. MRS-L-3608-05
 Suttle-Straus, Inc. v.                          Civil Action                                Supreme Court of the State of Pending
 Platform Learning                                                                           New York
 Index No. 600915-06                                                                         County of New York
 Print Media, Inc. v. Platform                   Civil Action                                Supreme Court of the State of Pending
 Learning Inc.                                                                               New York
 Index No. 600990-06                                                                         County of New York
 Mark Shnoer v. Platform                         Civil Action                                                              Settled
 Learning Inc.
 Sony Electronics v. Platform Civil Action                                                   Supreme Court of the State of Pending
 Learning                                                                                    New York
 Index No. 601104-06                                                                         County of New York
 Intellinet Corp. v. Platform                    Civil Proceeding                            Supreme Court of the State of Pending
 Learning, Inc.                                                                              New York
 Index No. 107647-06                                                                         County of New York
 Virtualedge Corp v. Platform Breach of Contract                                             Court of Common Pleas,        Pending
 Learning, Inc.                                                                              Bucks Co., Pa
 MWH # 14 Corp. vs. Platform Breach of contract                                              Circuit Court of the Thirteenth Pending
 Learning, Inc., Case No. 06-                                                                Judicial Circuit in and for
 005030                                                                                      Hillsborough County, FL

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                    DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                 PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,             DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                     PROPERTY




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               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT            TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER          ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     o         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                   DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY            DATE OF GIFT            VALUE OF GIFT
 Associate Black Charities                                                                    1/31/05                $5,000
 136 E. 57th Street
 Suite 1505
 New York, NY 10022
 W.S. Ministries                                                                              2/1/05                 $3,000
 c/o New Psalmist Baptist Church
 4501 1/2 Old Frederick Rd
 Attn: Roosevelt Harris
 Baltimore, MD 21229
 VH1 Save the Music                                                                           3/31/05                $5,000
 1515 Broadway, Suite 2026
 New York, NY 10036
 Do Something Organization                                                                    4/18/05                $2,500
 24-32 Union Square East
 New York, NY 10003
 Brooklyn Arts Council                                                                        6/14/05                $10,000
 55 Washington Street, Suite 218
 Brooklyn, NY 11201
 Free Arts NYC                                                                                6/30/05                $5,000
 1431 Broadway, 7th Floor
 New York, NY 10018
 Hip Hop Summit Action                                                                        9/30/05                $10,000
 512 Seventh Avenue, 43rd Floor
 New York, NY 10018
 Chicago Defender Charities                                                                   7/29/05                $1,000
 2400 South Michigan Ave., 3rd Floor
 Chicago, IL 60616
 Manny Diaz Campaign Fund                                                                     6/27/05                $500
 300 Aragon Ave.
 Suite 375
 Miami, FL 33134




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               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                   OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                               OF PROPERTY
 Herrick, Feinstein LLP                                                           3/10/06                                 $55,000.00
 2 Park Avenue                                                                    4/30/06                                 $51,875.14
 New York, NY 10016                                                               5/18/06                                 $27,164.33
 Argus Management Corporation                                                     12/05 - 5/06                            $562,199.70
 One Grafton Common, Suite 23
 Grafton, MA 01519

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
     o         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
        RELATIONSHIP TO DEBTOR                                                  DATE                            AND VALUE RECEIVED
 KB Toys Wholesale Inc                                                          2006                    Toys & educational materials
 100 West St
 Pittsfield, MA 01201
 Relational LLC                                                                 June 2006               Applied Letter of Credit ($612,000)
 101 Federal Street
 Suite 1900
 Boston, MA 02110

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     n         trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY




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               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     o         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                      OR CLOSING
 American Express                                                                 CD - 10106813                           $61,942.61 (2/6/2006)

 Bank of America                                                                  CD - FLC070502                          $175,000.00 (closed 3/20/06)



               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                          DESCRIPTION         DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                          OF CONTENTS          SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     o         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                          AMOUNT OF SETOFF
 Bank of America                                                                  03/20/06                                $175,000
 PO Box 60073
 City Of Industry, CA 91716-0073

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                         LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     o         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                               DATES OF OCCUPANCY
 17 State Street                                                                  Platform Learning, Inc.                 December 2004 - March 31,
 32nd Floor                                                                                                               2006
 New York, NY 10004




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               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                     ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                      LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                     ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                      LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                  NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
     o         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Charles Guss                                                                                              3/1/04 -9/9/05
 67 Austin Road
 Mahopac, NY 10541
 Michael Archembault                                                                                       1/7/04 - 8/2/05
 7 Woodhull Cove Lane
 East Setauket, NY 11733
 John J. Murray                                                                                            6/27/05 - 1/14/06
 3592 Park Avenue #B2
 Wantagh, NY 11793
 Steve Lamb                                                                                                7/18/05 - 11/25/05
 39 Mather Road
 Stamford, CT 06903
 Argus Management Corp.                                                                                    12/05 - Current
 One Grafton Common - Suite 23
 Grafton, MA 01519




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    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     o         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                DATES SERVICES RENDERED
 Deloitte                                              25 Broadway                                            6/30/04 and 6/30/05
                                                       New York, NY 10004-1010                                (Neither audit completed nor were any
                                                                                                              reports issued)

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     o         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                        ADDRESS
 Platform Learning Inc.                                                                      55 Broad Street
                                                                                             25th Floor
                                                                                             New York, NY 10004

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     o         issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                  DATE ISSUED
 Silicon Valley Bank                                                                               3/31/06
 400 Madison Avenue
 Suite 15A
 New York, NY 10017
 Relational LLC                                                                                    3/31/06
 101 Federal Street
 Suite 1900
 Boston, MA 02110
 Dell Financial Services                                                                           12/31/05
 99355 Collections Center Drive
 Chicago, IL 60693
 Bank of America                                                                                   6/30/05
 PO Box 60073
 City Of Industry, CA 91716-0073
 Ascend Venture Group, LLC                                                                         3/31/06
 1500 Broadway, 14th Floor
 New York, NY 10036
 Capital Resource Partners                                                                         3/31/06
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
 Quad Venture Partners                                                                             3/31/06
 650 Fifth Avenue
 31st Floor
 New York, NY 10019
 Debra J. Segal Trust                                                                              6/30/05
 c/o Seavest Inc.
 707 Westchester Ave., Suite 401
 Attn: Richard D. Segal
 White Plains, NY 10604
 Fourth Generation Partners                                                                        6/30/05
 c/o Seavest Inc.
 707 Westchester Ave., Suite 401
 Attn: Richard D. Segal
 White Plains, NY 10604




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 NAME AND ADDRESS                                                                                            DATE ISSUED
 New York City Investment Fund                                                                               6/30/05
 One Battery Park Plaza
 Fifth Floor
 Attn: Janice Roberts
 New York, NY 10004
 Stitching Pensionenfonds                                                                                    12/31/05
 Jachthavenweg 118
 1081 KJ
 AMSTERDAM
 William E. Lighten                                                                                          6/30/05
 c/o Lehman Brothers
 745 Seventh Avenue, 7th Floor
 New York, NY 10019
 WS Investment Company                                                                                       12/31/05
 c/o Wilson Sonsini Goodrich & Rosa
 650 Page Mill Road
 Attn: Isaac Vaughn
 Palo Alto, CA 94304
 Woodside Capital Management                                                                                 3/31/06
 25 Mall Road
 Burlington, MA 01803

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     o         and the dollar amount and basis of each inventory.

                                                                                                                        DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                             (Specify cost, market or other basis)
 Unknown                                               Resolve Corp. - Curricular & Rewards                             $2,300,000
 Unknown                                               Suttle-Straus - Marketing Materials                              $250,000

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     o

                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS
 Unknown                                                                                     Resolve Corp.

 Unknown                                                                                     Suttle-Straus



               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                                 PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     o         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                        NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                                   OF STOCK OWNERSHIP
 Ascend Venture Group, LLC                                                                                              38.56%
 1500 Broadway, 14th Floor
 New York, NY 10036



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                                                                                                                   NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                              OF STOCK OWNERSHIP
 Capital Resource Partners                                                                                         9.25%
 200 State Street
 Boston, MA 02109
 Platform Group LLC                                                                                                29.20%
 c/o Eugene V. Wade, Jr.
 55 Broad Street, 25th Floor
 New York, NY 10004
 Quad Venture Partners                                                                                             13.58%
 650 Fifth Avenue
 31st Floor
 New York, NY 10019
 Eugene V. Wade, Jr.                                                            Chief Executive Officer/Director
 Platform Learning
 55 Broad Street, 25th floor
 New York, NY 10004
 Juan Torres                                                                    President/Treasurer/Director
 Platform Learning
 55 Broad Street, 25th Floor
 New York, NY 10004
 Isaac Vaughn                                                                   Secretary/Director
 Wilson, Sonsini, Goodrich & Rosati, P.C.
 650 Page Mill Road
 Palto Alto, CA
 Daniel Neuwirth                                                                Director
 Quad Ventures LLC
 650 Fifth Avenue
 31st Floor
 New York, NY 10019
 Darryl E. Wash                                                                 Director
 Ascend Ventures
 1500 Broadway, 14th Floor
 New York, NY 10036

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                                  DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     o         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                              DATE OF TERMINATION
 Carlos Watson                                                                  Director
 111 North Rengstorff Ave.
 Suite 162
 Mountain View, CA 94043
 Stephen Jenks                                                                  Director                           4/20/06 (Resigned)
 c/o Capital Resource Partners
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
 Dan Neuwirth                                                                   Director                           5/15/06 (Resigned)




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                                                                                                                                                              12

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     o         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                      OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                         VALUE OF PROPERTY
 Capital Resource Mgmt - Special Purposes                                       7/5/05                                $352,701.00
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
    Equityholder and subordinated debtholder
 Capital Resource Mgmt - Special Purposes                                       9/30/05                               $285,262.00
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
    Equityholder and subordinated debtholder
 Capital Resource Mgmt - Special Purposes                                       12/30/05                              $287,449.00
 85 Merrimac Street
 Suite 200
 Boston, MA 02114
    Equityholder and subordinated debtholder
 Stichting Pensioenfonds ABP                                                    12/30/05                              $124,437.00
 Jachthavenweg 118
 1081 KJ
 AMSTERDAM,
    Equityholder
 Stichting Pensioenfonds ABP                                                    12/30/05                              $20,739.00
 Jachthavenweg 118
 1081 KJ
 AMSTERDAM
    Equityholder

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                                     13

           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


 Date June 21, 2006                                                             Signature    /s/ Juan Torres
                                                                                             Juan Torres
                                                                                             President

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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In re   Platform Learning Inc.                                               Case No.
                                                        Debtor(s)



                                   STATEMENT OF FINANCIAL AFFAIRS

                          Attachment 3.b. - Payments to Ordinary Creditors During 90 Day
                             Period Prior to Petition Date Aggregating More than $5,000

                      Vendor Name                                           Total Paid

17 State Street                                                                  7,410.00

ABD Insurance & Financial Services, Inc.l                                        8,089.00

ABM Janitorial Services                                                         18,915.70

Accountemps                                                                     18,356.10

Acxiom                                                                          11,478.02

Adecco                                                                       1,559,489.77

ADP                                                                            109,763.26

AFCO                                                                            18,204.80

Allessandra Cautenicci                                                          25,000.00

Allied Office Products                                                          65,000.00

American International Companies                                                10,259.00

Argus Management                                                               252,602.95

AXA Corporate Solutions Reinsurance Co.                                         79,318.08

Baker, Govern & Baker                                                            7,047.00

Bank of America                                                                 36,360.89

Best Buy                                                                        47,695.20

Canon Business Solutions                                                        24,178.28

Canon Financial Services,Inc ( CFS )                                            46,031.95

Ceridian Payroll (401K)                                                         68,456.78

CGS Total                                                                      295,040.00

Citicorp Vendor Finance, Inc.                                                   19,407.89

Clark County School District                                                    30,344.37

Cogent Communication                                                             8,616.17

Congressional Hispanic Caucus Institute                                         15,000.00
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CT Corporation System                                                    5,447.00

David Gitman                                                             6,077.31

David R Williams Inc.                                                    6,185.11

Dell Financial Services                                                 23,974.04

DHL EXPRESS (USA) INC.                                                  36,342.90

Dubrow Management                                                        5,600.00

Education Industry Association                                          10,000.00

Ernst & Young US LLP                                                    72,857.06

Filter/Studios                                                           6,093.87

First Student Inc.                                                      16,150.00

GE Dental Insurance                                                     19,002.74

GE Financial                                                            18,193.77

Gene Wade                                                               16,737.48

Genesis Building Limited                                                 5,335.75

George Arzt Communications Inc.                                          9,000.00

Greater Miami Caterers                                                  10,379.85

GS Equities, LLC                                                         7,173.68

Herrick, Feinstein LLP                                                  79,039.47

ISGI                                                                    12,457.67

Jones Lang LaSalle Mgmt Service                                         12,429.12

K.L. Holdings LLC                                                        7,342.50

Kevin Liles                                                             62,500.00

Lanak & Hanna, P.C. Client Trust Account                                 9,000.00

Law Offices of James Elliot (Schneour Settlement)                      189,364.50

M5 Networks                                                             40,642.94

Manhattan Mini Storage                                                   7,821.00

MegaPath Networks Inc.                                                  19,407.96

Meyers Moving and Storage                                                8,192.21

Monica Palacio                                                          30,062.49

N.Y.S. Unemployment Insurance                                           13,026.17
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Nextel                                                                   90,000.00

Nixon Peabody LLP                                                       110,000.00

NYSIA                                                                     9,164.00

Palm Springs community Night School                                       5,235.00

Plymouth Partners                                                        10,737.73

RC Dolner                                                                 8,301.92

Relational LLC                                                           93,953.28

Resolve Corp.                                                           160,000.00

Riemer & Braunstein                                                      25,360.00

RRF V Tri City Limited Partnership                                        5,753.20

Silicon Valley Bank Forbearance Fees                                    260,000.00

Sitel                                                                    65,000.00

Stacy Scott                                                              11,000.00

Steven Murray                                                            10,000.00

Sungard Availability Services                                            27,960.00

The Betesh Group                                                         16,322.75

The TreeLine 189 Partners                                                10,887.26

United Healthcare                                                       400,989.56

United Insurance Company of America - Commercial                         14,299.19
Specialists Total

Unum Provident                                                           55,276.12

Verizon Wireless                                                          6,502.82

Wilson Sonsini Goodrich & Rosati                                         47,000.00

Woodside Capital Partners                                                50,000.00

Worldwide Corporate Housing                                              36,000.00

Yipes Enterprise Services Inc.                                           16,171.33

Younan Properties Inc.                                                    5,677.20

Zer0to5ive                                                                6,000.00
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                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                                    Case No.
                                                                                             Debtor(s)                 Chapter      11


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                          $                125,000.00
              Prior to the filing of this statement I have received                                                $                125,000.00
              Balance Due                                                                                          $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.


5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including those set forth in the
        application seeking to retain Herrick, Feinstein LLP as counsel for the debtor and debtor-in-possession.




                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       June 21, 2006                                                                  /s/ Eric W. Sleeper
                                                                                             Eric W. Sleeper
                                                                                             Herrick, Feinstein LLP
                                                                                             2 Park Avenue
                                                                                             New York, NY 10016
                                                                                             (212) 592-1400 Fax: (212) 592-1500




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                                                                   United States Bankruptcy Court
                                                                          Southern District of New York
  In re          Platform Learning Inc.                                                                              Case No.
                                                                                                          ,
                                                                                         Debtor
                                                                                                                     Chapter                     11




                                                           LIST OF EQUITY SECURITY HOLDERS
     Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.


       Name and last known address                                                     Security                 Number               Kind of
       or place of business of holder                                                   Class                 of Securities          Interest

      Ascend Ventures II, L.P.                                                                                 588,442             4.46%
      1500 Broadway, 14th Floor
      New York, NY 10036

      Ascend Ventures NY II, L.P.                                                                              588,442             4.46%
      1500 Broadway, 14th Floor
      New York, NY 10036

      Ascend Ventures NY, L.P.                                                                                 781,130             5.93
      1500 Broadway, 14th Floor
      New York, NY 10036

      Ascend Ventures, L.P.                                                                                    3,124,515           23.71%
      1500 Broadway, 14th Floor
      New York, NY 10036

      Capital Resource Partners V LP                                                                           1,219,676           9.25%
      85 Merrimac Street
      Suite 200
      Boston, MA 02114

      Debra J. Segal Trust                                                                                     31,634              0.24%
      c/o Seavest Inc.
      707 Westchester Ave., Ste 401
      White Plains, NY 10604

      Fourth Generation Partners                                                                               47,452              0.36%
      c/o Seavest Inc.
      707 Westchester Ave., Ste 401
      White Plains, NY 10604

      Fourth Generation Partners                                                                               47,452              0.36%
      c/o Seavest Inc.
      707 Westchester Ave., Ste 401
      White Plains, NY 10604

      New York City Investment Fund                                                                            362,919             2.75%
      One Battery Park Plaza, 5th Fl
      Attn: Janice Roberts
      New York, NY 10004

      Platform Group LLC                                                                                       3,848,856           29.20%
      c/o Eugene V. Wade, Jr.
      55 Broad Street, 25th Floor
      New York, NY 10004



      1       continuation sheets attached to List of Equity Security Holders
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  In re          Platform Learning Inc.                                                                                        Case No.
                                                                                                                    ,
                                                                                                  Debtor

                                                           LIST OF EQUITY SECURITY HOLDERS
                                                                                         (Continuation Sheet)


       Name and last known address                                                             Security                   Number               Kind of
       or place of business of holder                                                           Class                   of Securities          Interest
      Quad Venture Partners SBIC, LP                                                                                     1,789,913           13.58%
      650 Fifth Avenue
      31st Floor
      New York, NY 10019

      Stitching Pensionenfonds ABP                                                                                       528,161             4.01%
      Jachthavenweg 118
      1081 KJ
      Amsterdam

      Stitching Pensionenfonds VDG                                                                                       88,104              0.67%
      Jachthavenweg 118
      1081 KJ
      Amsterdam

      William E. Lighten                                                                                                 31,634              0.24%

      WS Investment Company                                                                                              100,821             0.77%
      c/o Wilson Sonsini Goodrich & Rosa
      650 Page Mill Road
      Palo Alto, CA 94304




      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                   I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
              foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.


     Date          June 21, 2006                                                                   Signature /s/ Juan Torres
                                                                                                                Juan Torres
                                                                                                                President


               Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                                      18 U.S.C §§ 152 and 3571.




     Sheet 1           of     1     continuation sheets attached to the List of Equity Security Holders
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                                                                  United States Bankruptcy Court
                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                      Case No.
                                                                                             Debtor(s)   Chapter      11




                                                 VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        June 21, 2006                                                     /s/ Juan Torres
                                                                                Juan Torres/President
                                                                                Signer/Title




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                           ERIC W. SLEEPER
                           HERRICK, FEINSTEIN LLP
                           2 PARK AVENUE
                           NEW YORK, NY 10016


                           OFFICE OF THE US TRUSTEE
                           33 WHITEHALL STREET
                           SUITE 2100
                           NEW YORK, NY 10004


                           INTERNAL REVENUE SERVICE
                           SPEC. PROCEDURES FUNCTION
                           PO BOX 60
                           BROOKLYN, NY 11201


                           UNITED STATES ATTORNEY
                           ATT: CHIEF BANKRUTPCY LIT
                           ONE PIERREPONT PLAZA
                           14TH FLOOR
                           BROOKLYN, NY 11201


                           US DEPT OF JUSTICE
                           TAX DIVISION
                           BOX 55
                           BEN FRANKLIN STATION
                           WASHINGTON, DC 20044


                           NYS DEPT OF TAXATION & FINANCE
                           BANKRUPTCY SECTION
                           PO BOX 5300
                           ALBANY, NY 12205-0300


                           NYS DEPT. OF TAXATION
                           QUEENS DISTRICT OFFICE
                           80-02 KEW GARDENS ROAD
                           KEW GARDENS, NY 11415


                           NYS DIVISION OF CORPORATIONS
                           ALBANY, NY 12231-0002



                           NYC DEPT OF FINANCE
                           CHURCH STREET STATION
                           PO BOX 3671
                           NEW YORK, NY 10008
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                       NY CITY DEPT. OF FINANCE
                       BANKRUPTCY & ASSIGNMENT UNIT
                       345 ADAMS STREET, 10TH FLOOR
                       BROOKLYN, NY 11201


                       45 ACADEMY STREET ASSOCIATES
                       C/O DUBROW MANAGEMENT
                       45 ACADEMY STREET, SUITE 200
                       NEWARK, NJ 07102


                       4T-TECHNOLOGIES, INC.
                       885 WOODSTOCK ROAD
                       SUITE 430 # 220
                       ROSEWELL, GA 30075-2274


                       55 BROAD STREET LP
                       345 PARK AVENUE
                       NEW YORK, NY 10154-0101


                       AAA ARCHITECTURAL HARDWARE CO
                       44 WEST 46TH STREET
                       NEW YORK, NY 10036


                       ABM JANITORIAL SERVICES
                       PO BOX 19459A
                       NEWARK, NJ 07195-0459


                       ABRAMS FAMILY INVESTMENTS LLC
                       C/O UNITED INS. CO. OF AMERICA
                       7674 W. LAKE MEAD BLVD, #104
                       LAS VEGAS, NV 89128


                       ACC BUSINESS
                       PO BOX 13136
                       NEWARK, NJ 07101-5636


                       ACCOUNTEMPS
                       12400 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693


                       ACCUCONFERENCE
                       ATTN: DAVID BYRD
                       6300 RIDGLEA PLACE, SUITE 318
                       FORT WORTH, TX 76116
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                       ACE PRINTING COMPANY INC
                       54 FADEM ROAD
                       SPRINGFIELD, NJ 07081


                       ACXIOM
                       12445 COLLECTION CENTER DRIVE
                       CHICAGO, IL 60693


                       ADECCO
                       PO BOX 371084
                       PITTSBURGH, PA 15250-7084


                       ADECCO
                       99 SUMMER STREET
                       ATTN: VP OF OPERATIONS
                       BOSTON, MA 02110


                       ADECCO
                       61 BROADWAY
                       NEW YORK, NY 10006-2701


                       ADECCO USA, INC.
                       175 BROAD HOLLOW ROAD
                       ATTN: GENERAL COUNSEL
                       MELVILLE, NY 11747


                       ADECCO USA, INC.
                       175 BROAD HOLLOW ROAD
                       MELVILLE, NY 11747


                       ADP INC
                       PO BOX 7247-0351
                       PHILADELPHIA, PA 19170-0351


                       ADP NATIONAL ACCOUNT SERVICES
                       ATTN: BRYAN WEBB
                       10407 CENTURIAN PKY N, STE 400
                       JACKSONVILLE, FL 32256


                       AFCO
                       DEPT 21315
                       PASADENA, NY 91185-1315
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                       AHA! INTERACTIVE
                       53 W. JACKSON BLVD.
                       SUITE 1135
                       CHICAGO, IL 60604


                       AKRON BOARD OF EDUCATION
                       70 N. BROADWAY
                       AKRON, OH 44308


                       ALEKS CORPORATION
                       400 NORTH TUSTIN, SUITE 300
                       SANTA ANA, CA 92705


                       ALL SHREDDING CORP
                       27 WILLIAMS STREET 4TH FLOOR
                       NEW YORK, NY 10005


                       ALLESSANDRA CAUTENICCI
                       6200 WAGNER LANE
                       BETHESDA, MD 20816


                       ALLIED OFFICE PRODUCTS
                       100 DELAWANNA AVE
                       CLIFTON, NJ 07014


                       ALPINVEST PARTNERS INC.
                       630 FIFTH AVENUE, 28TH FLOOR
                       NEW YORK, NY 10111


                       AMERICAN BUILDING MAINTENANCE
                       551 FIFTH AVENUE, SUITE 300
                       NEW YORK, NY 10176


                       ARROWHEAD
                       PO BOX 52237
                       PHOENIX, AZ 85072-2237


                       ASCEND VENTURE GROUP, LLC
                       1500 BROADWAY, 14TH FLOOR
                       NEW YORK, NY 10036


                       AXA CORP SOLUTIONS REINSURANCE
                       17 STATE STREET
                       38TH FLOOR
                       NEW YORK, NY 10004
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                       AXA CORP. SOLUTIONS REINS. CO.
                       17 STATE STREET, 38TH FLOOR
                       NEW YORK, NY 10004


                       AYERS GROUP
                       405 LEXINGTON AVENUE
                       NEW YORK, NY 10174


                       BANK OF AMERICA
                       PO BOX 60073
                       CITY OF INDUSTRY, CA 91716-0073


                       BD OF SCH INSP. - JOLIET PS
                       420 N. RAYNOR AVENUE
                       ATTENTION: MS. CAROL SOSSONG
                       JOLIET, IL 60435


                       BEKINS WORLDWIDE SOLUTIONS
                       135 S. LASALLE, DEPT. 1624
                       CHICAGO, IL 60674-1624


                       BELLSOUTH
                       PO BOX 70529
                       CHARLOTTE, NC 28272-0529


                       BIG
                       1131 W. WARNER ROAD, SUITE 102
                       TEMPE, AZ 85284


                       BIG APPLE CAR
                       169 BAY 17TH STREET
                       BROOKLYN, NY 11214


                       BIG APPLE VISUAL GROUP
                       247 W. 35TH STREET
                       NEW YORK, NY 10001


                       BOE FOR THE CITY OF DETROIT
                       FISHER BUILDING
                       7307 SECOND AVE., 10TH FLOOR
                       DETROIT, MI 48202
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                       BOE OF THE CITY OF CHICAGO
                       OFFICE OF AFTER SCHOOL & COMMU
                       125 SOUTH CLARK, 10TH FLOOR
                       CHICAGO, IL 60603


                       BOE OF THE CLEVELAND MUN. SD
                       1380 E. SIXTH STREET
                       CLEVELAND, OH 44114


                       BRENDA LEGGETT
                       C/O FRANCES FARBER-WALTER, ESQ
                       25 MAIN STREET, SUITE 104
                       HACKENSACK, NJ 07601


                       BROWN & BIGELOW
                       PO BOX 1450 NW 8554
                       MINNEAPOLIS, MN 55485-8554


                       BUSINESS OBJECTS
                       7573 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693


                       CAMBIUM LEARNING
                       313 SPEEN STREET
                       NATICK, MA 01760


                       CANON BUS. SOLUTIONS-EAST, INC
                       P.O. BOX 728
                       PARK RIDGE, NJ 07656


                       CANON BUSINESS SOLUTIONS
                       300 COMMERCE SQUARE BLVD
                       BURLINGTON, NJ 08016


                       CANON BUSINESS SOLUTIONS-WEST
                       PO BOX 100924
                       PASADENA, CA 91189-0924


                       CANON FIN. SERVICES, INC.
                       158 GAITHER DRIVE #200
                       SUITE 100
                       MOUNT LAUREL, NJ 08054
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                       CANON FIN. SERVICES, INC.
                       15325 S.E. 30TH PLACE
                       SUITE 100
                       BELLEVUE, WA 98007


                       CAPITAL H GROUP
                       ATTN: GREGORY SILICH
                       225 W. WASHINGTON STREET
                       CHICAGO, IL 60606


                       CAPITAL RESOURCE MANAGEMENT-SPECIAL PURP
                       200 STATE STREET
                       BOSTON, MA 02109


                       CAPITAL RESOURCE PARTNERS V
                       85 MERRIMAC STREET
                       SUITE 200
                       BOSTON, MA 02114


                       CAPITAL RESOURCE PARTNERS V LP
                       85 MERRIMAC STREET
                       SUITE 200
                       BOSTON, MA 02114


                       CAREY INTERNATIONAL
                       PO BOX 631414
                       BALTIMORE, NY 21263-1414


                       CARLOS WATSON
                       111 NORTH RENGSTORFF AVE.
                       SUITE 162
                       MOUNTAIN VIEW, CA 94043


                       CARMEL PRIVATE CAR & LIMOUSINE SERVICES
                       2642 BROADWAY
                       NEW YORK, NY 10025


                       CDW DIRECT LLC
                       PO BOX 75723
                       CHICAGO, IL 60675-5723


                       CENTRAL PARKING SYSTEM - FL
                       647 BRICKELL KEY DRIVE
                       MIAMI, FL 33131
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                       CHRISTINE DONOVAN, ESQ.
                       THE DONOVAN GROUP
                       2920 NEWPORT BLVD., STE. B
                       NEWPORT BEACH, CA 92663


                       CINGULAR - O
                       PO BOX 6444
                       CAROL STREAM, IL 60197-6444


                       CINGULAR - W
                       PO BOX 828435
                       PHILADELPHIA, PA 19182-8435


                       CITICORP VENDOR FINANCE, INC
                       ONE INTERNATIONAL BOULEVARD
                       MAHWAH, NJ 07430-0631


                       CITICORP VENDOR FINANCE, INC
                       PO BOX 7247-0118
                       PHILADELPHIA, PA 19170-0118


                       CITY OF BRIDGETON BOE
                       41 BANK STREET
                       BRIDGETON, NJ 08302


                       CITY OF CAMDEN BOE
                       201 N. FRONT STREET
                       CAMDEN, NJ 08102


                       CITY OF SAN BERNARDINO BUSINESS REG
                       300 NORTH "D" STREET
                       SAN BERNARDINO, CA 92418


                       CLARK COUNTY SCHOOL DISTRICT
                       DR. SUSAN WRIGHT, DIR. TITLE I
                       515 W. CHEYENNE AVENUE
                       NORTH LAS VEGAS, NV 89030


                       CLASSIC COFFEE SYSTEMS, LTD
                       333 W. MERRICK ROAD
                       SUITE #3
                       VALLEY STREAM, NY 11580
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                       CLEAR CHANNEL - WJLB
                       27675 HALSTED ROAD
                       FARMINGTON HILL, MI 48331


                       CLUB QUARTERS
                       49 W. 45TH STREET, 8TH FLOOR
                       NEW YORK, NY 10036


                       CMRS-FP
                       DEPT. 4272
                       CAROL STREAM, IL 60122-4272


                       COFFEE DISTRIBUTING CORP.
                       PO BOX 766
                       GARDEN CITY PK, NY 11040-0604


                       COGENT COMMUNICATIONS, INC.
                       1015 31ST STREET, N.W.
                       WASHINGTON, DC 20007


                       COMED
                       BILL PAYMENT CENTER
                       CHICAGO, IL 60668-0001


                       COMMERCIAL WIRING SERVICE LLC
                       3010 ROUTE 88
                       PT PLEASANT BCH, NJ 08742


                       COMPUTER GENERATED SOLUTIONS
                       3 WORLD FINANCIAL CENTER
                       200 VESEY STREET, 27TH FLOOR
                       NEW YORK, NY 10281


                       CON EDISON COMMUNICATIONS
                       55 BROAD STREET
                       22ND FL - FINANCE
                       NEW YORK, NY 10004


                       CORBIS CORPORATION
                       13159 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693


                       CSFB 1998-P1 GRISWOLD OFF LLC
                       645 GRISWOLD, SUITE 3080
                       DETROIT, MI 48226
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                       CSFB 1998-P1 GRISWOLD OFFICE
                       C/O FINSILVER/FRIEDMAN MGMT
                       34975 W. TWELVE MILE RD, #100
                       FARMINGTON HILLS, MI 48331


                       DART COURIER SERVICE
                       116 EAST 16TH STREET
                       3RD FLOOR
                       NEW YORK, NY 10003


                       DAVID RIVERA
                       381 BEDFORD PARK BLVD #2
                       BRONX, NY 10458


                       DELL FINANCIAL SERVICES
                       899 EATON AVENUE
                       BETHLEHEM, PA 18025


                       DELL FINANCIAL SERVICES
                       99355 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693


                       DELL FINANCIAL SERVICES, LP
                       12234 N. IH-35 BLDG B
                       AUSTIN, TX 78753


                       DELL FINANCIAL SERVICES, LP
                       99355 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693


                       DELL INC.
                       ONE DELL WAY
                       ROUND ROCK, TX 78682


                       DELL MARKETING LP
                       PO BOX 676021
                       DALLAS, TX 75267-6021


                       DELOITTE
                       25 BROADWAY
                       NEW YORK, NY 10004-1010


                       DHL EXPRESS (USA) INC.
                       PO BOX 4723
                       HOUSTON, TX 77210-4723
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                       DOWNTOWN KEY & LOCK CO.
                       44 NEW STREET
                       NEW YORK, NY 10004


                       EAST DETROIT PUBLIC SCHOOLS
                       C/O JOANNE C. LELEKATCH
                       15115 DEERFIELD
                       EASTPOINTE, MI 48021


                       EDUCATION INDUSTRY ASSOCIATION
                       PO BOX 348
                       WATERTOWN, WI 53094


                       EDUCATION WEEK
                       PO BOX 2083
                       MARION, OH 43306-8183


                       ENTERPRISE RENT-A-CAR OF SF
                       192 98TH AVE
                       OAKLAND, CA 94603-1004


                       EPI INTERNET DIRECT
                       5694-4 HIGHWAY 7 EAST, STE 322
                       MARKHAM, ONTARIO L3P 1B4
                       CANADA


                       EPREDIX
                       MI 06 PO BOX 1150
                       MINNEAPOLIS, MN 55480-1150


                       EPROMOS PROMOTIONAL PRODUCTS, INC.
                       222 EAST 44TH STREET
                       10TH FLOOR
                       NEW YORK, NY 10017


                       ERNST & YOUNG LLP
                       PO BOX 98366
                       CHICAGO, IL 60693


                       ERNST & YOUNG U.S. LLP
                       PO BOX 98366
                       CHICAGO, IL 60693
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                       ERNST & YOUNG U.S. LLP
                       5 TIMES SQUARE
                       NEW YORK, NY 10036


                       ERNST & YOUNG U.S. LLP
                       1300 HUNTINGTON BUILDING
                       925 EUCLID AVENUE
                       CLEVELAND, OH 44115


                       EUGENE V. WADE, JR.
                       55 BROAD STREET
                       25TH FLOOR
                       NEW YORK, NY 10004


                       EVOLUT. STRATEGIC PLANNING INC
                       189 MONTAGUE STREET
                       BROOKLYN, NY 11201


                       EXCHANGE OF FT LAUDERDALE LLC
                       1500 WEST CYPRESS CREEK ROAD
                       SUITE 409
                       FORT LAUDERDALE, FL 33309


                       FBEC-BRICKELL KEY CENTRE LP
                       C/O JONES LANG LASALLE MGT SVC
                       601 BRICKELL KEY DR, STE 101
                       MIAMI, FL 33131


                       FEDEX
                       PO BOX 1140
                       MEMPHIS, TN 38108


                       FEDEX - PA
                       PO BOX 371461
                       PITTSBURGH, PA 15250-7461


                       FEDEX KINKOS
                       PO BOX 672085
                       DALLAS, TX 75267-2085


                       FIA
                       230 PARK AVENUE, SUITE 422
                       NEW YORK, NY 10169
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                       FILTERFRESH CHICAGO
                       36245 TREASURY CENTER
                       CHICAGO, IL 60694-6200


                       FINSILVER/FRIEDMAN MGMT CORP.
                       ATTN: PENOBSCOT BUILDING
                       34975 W. TWELVE MILE RD, #100
                       FARMINGTON HILLS, MI 48331


                       FIT
                       SEVENTH AVE. AT 27TH STREET
                       NEW YORK, NY 10001-5992


                       FLAGLER DEVELOPMENT COMPANY
                       10151 DEERWOOD PARK BOULEVARD
                       BUILDING 100, SUITE 330
                       JACKSONVILLE, FL 32256


                       FRIENDS OF HILLARY
                       15 EAST 26TH STREET
                       NEW YORK, NY 10010


                       FUN EXPRESS
                       PO BOX 2049
                       OMAHA, NE 68103


                       GALEN TECHNOLOGY SOLUTIONS, INC.
                       100 WALL STREET
                       NEW YORK, NY 10005


                       GE FINANCIAL
                       1800 SOUTH SPRINGER DRIVE
                       LOMBARD, IL 60148


                       GENESIS BUILDING LIMITED
                       DALAD GROUP, ATTN LLOYD MAZUR
                       6200 ROCKSIDE WOODS BLVD, #105
                       INDEPENDENCE, OH 44131


                       GENESIS BUILDING LIMITED
                       6200 ROCKSIDE WOODS BLVD
                       SUITE 105
                       INDEPENDENCE, OH 44131
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                       GEORGE ARZT COMMUNICATIONS INC
                       123 WILLIAM STREET
                       22ND FLOOR
                       NEW YORK, NY 10038


                       GLOBAL VANTEDGE
                       PO BOX 940
                       BROOKFIELD, WI 53008-0940


                       GLYPH LANGUAGE SERVICES
                       126 NW CANAL STREET, SUITE 110
                       SEATTLE, WA 98107


                       GOOD TECHNOLOGY INC
                       DEPT CH 17433
                       PALATINE, IL 60055-7433


                       GREATER MIAMI CATERERS
                       4001 N.W. 31ST AVENUE
                       MIAMI, FL 33142


                       GROOVE NETWORKS,INC
                       100 CUMMINGS CENTER/SUITE 535Q
                       ATTN: RACHEL BRADFORD-WARFEL
                       BEVERLY, MA 01915


                       GS EQUITIES, LLC
                       PO BOX 31-1807
                       DETROIT, MI 48231-1807


                       GUARINO & ASSOCIATES
                       1 WINDY HILL
                       CLEVELAND, OH 44094


                       HALSEY, RAINS AND ASSOCIATES
                       415 SECOND ST., NE, SUITE 100
                       WASHINGTON, DC 20002


                       HARCOURT ASSESSMENT, INC.
                       CUSTOMER SERVICE
                       PO BOX 708912
                       SAN ANTONIO, TX 78270-8912
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                       HARRIS INTERACTIVE
                       135 CORPORATE WOODS
                       ROCHESTER, NY 14623-1457


                       HARRIS MC CULLY ASSOCIATES
                       99 PARK AVENUE, 18TH FLOOR
                       NEW YORK, NY 10016


                       HEADSPROUT
                       127 BROADWAY EAST - SUITE 300
                       SEATTLE, WA 98102


                       HEART TO HEART FLORAL DECORATIONS
                       5 BEAVER STREET
                       NEW YORK, NY 10004


                       HOLLAND & KNIGHT LLP
                       2099 PENNSYLVANIA AVE N.W.
                       SUITE 100
                       WASHINGTON, DC 20006


                       HUDSON BAY ENVIRONMENTS
                       ONE FORDHAM PLAZA
                       BRONX, NY 10458-5871


                       IKNOWTHAT.COM INC.
                       2100 WHARTON STREET
                       SUITE 625
                       PITTSBURGH, PA 15203


                       IKON DOCUMENT SERVICES (PA)
                       PO BOX 827457
                       PHILADELPHIA, PA 19182-7457


                       IKON FINANCIAL SERVICES
                       PO BOX 41564
                       PHILADELPHIA, PA 19101-1564


                       IKON OFFICE SOLUTIONS - IL
                       1600 SOLUTIONS CENTER
                       CHICAGO, IL 60677-1005


                       IMAGE ACCESS CORP
                       252 HUDSON STREET
                       HACKENSACK, NJ 07601
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                       INNOVATIVE SYSTEMS
                       FIVE VALLEY SQUARE, SUITE 225
                       512 TOWNSHIP LINE ROAD
                       BLUE BELL, PA 19422


                       INTELLAGENT SOLUTIONS LLC
                       107 MAX CT. SE
                       LEESBURG, VA 20175


                       INTELLINET
                       TWO CONCOURSE PARKWAY
                       ATLANTA, GA 30328


                       INTERWOVEN
                       ATTN: REENA PRASAD
                       803 11TH AVENUE
                       SUNNYVALE, CA 94089


                       IOS CAPITAL INC.
                       1738 BASS ROAD
                       MACON, GA 31210


                       IRP-LINCOLN ATLANTA ASSOCS LLC
                       100 PEACHTREE STREET
                       SUITE 1810
                       ATLANTA, GA 30303


                       ISGI
                       94 NORTH ELM STREET SUITE 303
                       WESTFIELD, MA 01085


                       JAROS BAUM & BOLLES
                       80 PINE STREET
                       NEW YORK, NY 10005


                       JASCULCA TERMAN & ASSOCIATES
                       730 N. FRANKLIN STREET
                       SUITE 510
                       CHICAGO, IL 60610-7204


                       JASCULCA/TERMAN & ASSOCS, INC.
                       730 NORTH FRANKLIN STREET
                       SUITE 510
                       CHICAGO, IL 60610
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                       JASON TODD GREEN
                       610 DEAN STREET
                       APT. #3
                       BROOKLYN, NY 11238


                       JESSICA PAYNE
                       6617 TELEGRAPH AVE # 3
                       OAKLAND, CA 94609


                       JOFAZ TRANSPORTATION
                       1 COFFEY STREET
                       BROOKLYN, NY 11231


                       JONES LANG LASALLE MGMT SVC
                       2995 PAYSPHERE CIRCLE
                       CHICAGO, IL 60674-2995


                       JOSEPH A. SORISI
                       2 DOLLY CAM LANE
                       OLD BROOKVILLE, NY 11545


                       JOSEPH CLASEN, ESQ.
                       ROBINSON & COLE
                       695 EAST MAIN STREET
                       STAMFORD, CT 06904-2305


                       JRH SOLUTIONS
                       208 POPOLO DRIVE
                       LAS VEGAS, NV 89138


                       JUAN TORRES
                       55 BROAD STREET
                       25TH FLOOR
                       NEW YORK, NY 10004


                       JUSTIN WOLF
                       390 19TH STREET
                       2ND FLOOR
                       BROOKLYN, NY 11215


                       K.L. HOLDINGS LLC
                       PO BOX 827124
                       PHILADELPHIA, PA 19182-7124
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                       K.L. HOLDINGS LLC
                       PO BOX 1906
                       CHERRY HILL, NJ 08034


                       KAREN MIGDALE
                       21 LEROY STREET, APT. 23
                       NEW YORK, NY 10014


                       KARPLUS & NUSSBAUM ARCHITECTS, P.C
                       800 3RD AVE.
                       NEW YORK, NY 10022-7604


                       KASTLE SYSTEMS
                       PO BOX 75327
                       BALTIMORE, MD 21275-5327


                       KB TOYS WHOLESALE INC
                       100 WEST ST
                       PITTSFIELD, MA 01201


                       KELLWOOD/PHAT FARM
                       512 7TH AVENUE
                       29TH FLOOR
                       NEW YORK, NY 10018


                       KORN FERRY INTERNATIONAL
                       1900 AVENUE OF THE STARS
                       26TH FLOOR
                       LOS ANGELES, CA 90067


                       LAGACETA
                       PO BOX 5536
                       TAMPA, FL 33675


                       LAIDLAW TRANSIT, INC.
                       3349 HIGHWAY 138
                       BLDG A, SUITE D
                       WALL TOWNSHIP, NJ 07719


                       LAKE BUSINESS PRODUCTS
                       37200 RESEARCH DRIVE
                       EASTLAKE, OH 44095
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                       LANAK & HANNA, P.C. CLIENT TRUST ACCOUNT
                       400 NORTH TUSTIN AVENUE
                       SANTA ANA, CA 92705


                       LAYER 7 NETWORKS LLC
                       7 VAN WYK ROAD
                       LAKE HIAWATHA, NJ 07034


                       LESTER, INC.
                       19 BUSINESS PARK DRIVE
                       A/R DEPT.
                       BRANFORD, CT 06405


                       LEXISNEXIS
                       PO BOX 7247-7090
                       PHILADELPHIA, PA 19170-7090


                       LITTLER MENDELSON
                       PO BOX 45547
                       SAN FRANCISCO, CA 94145-0547


                       LORAIN BOARD OF EDUCATION
                       2350 POLE AVENUE
                       LORAIN, OH 44052


                       LORAIN BOE
                       CHARLESTON ADMINISTRATIVE CTR
                       2350 POLE AVENUE
                       LORAIN, OH 44052


                       LOS ANGELES UNIFIED SCH DIST
                       333 S. BEAUDRY, 28TH FLOOR
                       ATTN: JOHN LIECHTY
                       LOS ANGELES, CA 90017


                       LOUISIANA DEPT OF REVENUE
                       PO BOX 201
                       BATON ROUGE, LA 70821-0201


                       M5 NETWORKS
                       245 WEST 17TH STREET
                       9TH FLOOR
                       NEW YORK, NY 10011
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                       M5 NETWORKS
                       245 W. 17TH STREET
                       9TH FLOOR
                       NEW YORK, NY 10011


                       MACROMEDIA
                       600 TOWNSEND STREET
                       SAN FRANCISCO, CA 94103


                       MAGNETIC SPRINGS
                       PO BOX 182076
                       COLUMBUS, OH 43218-2076


                       MANAGERIAL DESIGN CORPORATION
                       1033 SOLUTIONS CENTER
                       CHICAGO, IL 60677-1000


                       MARK BOYLAND
                       48 SUNSET DRIVE
                       CHATHAM, NJ 07928


                       MARK R. FISCHER
                       80 WOODCHUCK HOLLOW ROAD
                       COLD SPRING HARBOR, NY 11724


                       MARLENE WECHSLER
                       1501 FIRST AVENUE
                       APT. 4S
                       NEW YORK, NY 10021


                       MATTHEW MUGO FIELDS
                       120 E. 116TH STREET
                       APT. 3R
                       NEW YORK, NY 10029


                       MEGAPATH NETWORKS INC
                       PO BOX 120324 DEPT 0324
                       DALLAS, TX 75312-0324


                       MELWOOD SPRINGS WATER
                       200 GEORGIA CROWN DRIVE
                       MCDONOUGH, GA 30253
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                       MERRILL COMMUNICATIONS LLC
                       ATTN: DALE HEIN
                       ONE MERRILL CIRCLE
                       SAINT PAUL, MN 55108


                       METROPOLIS GROUP INC.
                       299 BROADWAY, SUITE 600
                       NEW YORK, NY 10007


                       MICROSOFT CORPORATION
                       CORPORATE HEADQUARTERS
                       ONE MICROSOFT WAY
                       REDMOND, WA 98052-6399


                       MICROTEK
                       2001 BUTTERFIELD ROAD
                       SUITE 1500
                       DOWNERS GROVE, IL 60515


                       MID HUDSON PHOTO ID
                       10 ULSTER AVENUE
                       ULSTER PARK, NY 12487


                       MIRRAM GROUP LLC
                       895 BROADWAY, 5TH FLOOR
                       NEW YORK, NY 10003


                       MONSTER
                       PO BOX 34649
                       NEWARK, NJ 07189


                       MTI
                       17595 CARTWRIGHT ROAD
                       ATTN: TODD WILLIAMS
                       IRVINE, CA 92614


                       MWH #14 CORPORATION
                       C/O TA REALTY CORP.
                       28 STATE STREET, 10TH FLOOR
                       BOSTON, MA 02109


                       NAIMI LUNDI
                       234 MATTHEWS DR.
                       NEWARK, NJ 07103
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                       NATIONAL ORGANIZATION OF AFRICAN AMERICA
                       507 CAPITAL COURT, NE
                       WASHINGTON, DC 20002


                       NCS PEARSON
                       ATTN: JACK KIELKUCKI
                       1313 LOAN OAK DRIVE
                       EAGAN, MN 55121


                       NET IMPACT
                       660 MARKET STREET - SUITE 210
                       SAN FRANCISCO, CA 94104


                       NETHER CARTER, TITLE I PAC



                       NEW YORK CITY BOE
                       OFC OF DEP CHANCELLOR FOR TEAC
                       52 CHAMBERS ST., 3RD ROOM 205
                       NEW YORK, NY 10007


                       NEW YORK TIMES
                       PO BOX 371456
                       PITTSBURGH, PA 15250-7456


                       NEXTEL COMMUNICATIONS
                       PO BOX 17621
                       BALTIMORE, MD 21297-1621


                       NEXTEL OF NEW YORK INC.
                       2001 EDMUND HALLEY DRIVE
                       RESTON, VA 20191


                       NEXTEL OF NEW YORK, INC.
                       565 TAXTER ROAD
                       ELMSFORD, NY 10523


                       NIXON PEABODY LLP
                       437 MADISON AVENUE
                       NEW YORK, NY 10022


                       NOMADIC DISPLAY
                       475 FIFTH AVENUE
                       24TH FLOOR
                       NEW YORK, NY 10017
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                       OAKWOOD CORPORATE HOUSING
                       004217 COLLECTIONS CENTER DR
                       CHICAGO, IL 60693


                       PA-1601 MARKET STREET LP
                       1601 MARKET STREET
                       SUITE 2220
                       PHILADELPHIA, PA 19103


                       PACIFIC POINTE OFFICE TWR LLC
                       5959 TOPANGA CANYON BLVD
                       SUITE 200
                       WOODLAND HILLS, CA 91367


                       PARK CENTRAL NEW YORK
                       870 7TH AVENUE
                       NEW YORK, NY 10019


                       PAX WHOLESOME FOODS
                       1776 BROADWAY
                       NEW YORK, NY 10019


                       PAYCHEX, INC.
                       CORPORATE HEADQUARTERS
                       911 PANORAMA TRAIL SOUTH
                       ROCHESTER, NY 14625-0397


                       PBM/CMSI
                       1466 BROADWAY
                       NEW YORK, NY 10036


                       PEARSON EDUCATION
                       200 OLD TAPPAN ROAD
                       OLD TAPPAN, NJ 07675


                       PENTON TECHNOLOGY MEDIA
                       2420 RELIABLE PARKWAY
                       CHICAGO, IL 60686-0024


                       PEOPLE FINDERS PLUS
                       295 MADISON AVENUE
                       NEW YORK, NY 10017
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                       PEOPLE'S STATION AM1200 WCHB
                       PO BOX 92266
                       CLEVELAND, OH 44193


                       PHILOSOPHY IB
                       25 A VREELAND ROAD
                       SUITE 100
                       FLORHAM PARK, NJ 07932


                       PLYMOUTH PARTNERS LP
                       815 W. VAN BUREN
                       CHICAGO, IL 60607


                       POLAND SPRING
                       2767 E IMPERIAL HWY
                       BREA, CA 92821


                       PREMIERE GLOBAL SERVICES
                       PO BOX 404351
                       ATLANTA, GA 30384-4351


                       PRINT MEDIA
                       350 7TH AVENUE
                       12TH FLOOR
                       NEW YORK, NY 10001


                       PROGRESSIVE BUSINESS PUBLICATIONS
                       PO BOX 3019
                       MALVERN, PA 19355


                       PRUDENTIAL FINANCIAL
                       PO BOX 841337
                       DALLAS, TX 75284


                       QUAD VENTURE PARTNERS
                       650 FIFTH AVENUE
                       31ST FLOOR
                       NEW YORK, NY 10019


                       QUALITY EDUCATION DATA
                       1625 BROADWAY, SUITE 250
                       DENVER, CO 80202
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                       R.R. BOWKER
                       630 CENTRAL AVEUNE
                       NEW PROVIDENCE, NJ 07974-1606


                       RADICE III, LLC
                       C/O EXCH. OF FT LAUDERDALE LLC
                       1500 W. CYPRESS CREEK RD.,#409
                       FORT LAUDERDALE, FL 33309


                       RECRUITMAX SOFTWARE, INC.
                       C/O MARK SILVERMAN, VURV TECHN
                       7600 CENTURIAN PKWY, STE. 100
                       JACKSONVILLE, FL 32256


                       REHABIL. INSTIT. OF MICHIGAN
                       OFFICE OF DEVELOPMENT
                       RM 810, 261 MACK BLVD
                       DETROIT, MI 48201


                       RELATIONAL LLC
                       101 FEDERAL STREET
                       SUITE 1900
                       BOSTON, MA 02110


                       REMINGTON INTERNATIONAL
                       ATTN: DEBORAH MAGGIO
                       206 NEWBERRY ST
                       BOSTON, MA 02116


                       RESOLVE CORPORATION
                       ATTN: MARK SOLLENBERGER
                       20770 WESTWOOD DRIVE
                       STRONGSVILLE, OH 44149


                       RESOURCE MANAGEMENT GROUP
                       ATTN: SHIRIN KAZEMI
                       177 BROAD STREET 11TH FLOOR
                       STAMFORD, CT 06901


                       RON MASON
                       303 BLISS LANE
                       VALLEY COTTAGE, NY 10989
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                       RRF   V TRI CITY LP
                       C/O   GLENBOROUGH
                       400   S. EL CAMINO REAL, STE 100
                       SAN   MATEO, CA 94402-1708


                       RUSSELL REYNOLDS ASSOC.
                       200 PARK AVENUE
                       NEW YORK, NY 10166-7018


                       SAN BERNARDINO CITY USD
                       777 NORTH F STREET
                       SAN BERNARDINO, CA 92410


                       SBC BILL PAYMENT CENTER - MI
                       BILL PAYMENT CENTER
                       SAGINAW, MI 48663-0003


                       SCHOLASTIC INC.
                       557 BROADWAY
                       NEW YORK, NY 10012


                       SECURE CHECK
                       190 NORTH UNION STREET
                       SUITE 101
                       AKRON, OH 44304


                       SHAKER RECRUITMENT AD. & COMM.
                       1100 LAKE STREET
                       OAK PARK, IL 60301-1015


                       SHEN MILSOM & WILKE
                       417 FIFTH AVENUE
                       NEW YORK, NY 10016


                       SHURGARD OF RIVER WEST
                       947 WEST VAN BUREN
                       CHICAGO, IL 60607-3529


                       SILICON VALLEY BANK
                       221 WASHINGTON ST., STE. 200
                       ONE NEWTON EXECUTIVE PARK
                       NEWTON, MA 02462
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                       SITEL
                       PO BOX 3480
                       OMAHA, NE 68103-0480


                       SONICWALL SERVICES
                       PO BOX 30176
                       LOS ANGELES, CA 90030-9849


                       SONY ELECTRONICS
                       SONY DRIVE, MS:1E4
                       ATTN: LLOYD SARAKIN
                       PARK RIDGE, NJ 07656-8003


                       SPRINT
                       PO BOX 79133
                       PHOENIX, AZ 85062-9133


                       SPRINT RECYCLING INC.
                       605 WEST 48TH STREET
                       NEW YORK, NY 10036


                       SRC SOFTWARE
                       13190 SW 68TH PKWY
                       PORTLAND, OR 97223


                       STACEY JOHNSON
                       C/O PETER ULANOWICZ, ESQ.
                       4486 DAVIE ROAD
                       DAVIE, FL 33314


                       STACY SCOTT
                       EXEC RESULTS CONSULTING
                       PHOENIX, AZ 85022


                       STATE-OPER SCH DIST - JC
                       346 CLAREMONT AVENUE
                       JERSEY CITY, NJ 07305


                       STATE-OPER SCH DIST - NEWARK
                       2 CEDAR STREET
                       NEWARK, NJ 07102


                       STEPHEN MURRAY
                       647 WESTCHESTER ROAD
                       COLCHESTER, CT 06415
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                       STEVEN J. MURRAY
                       647 WESTCHESTER ROAD
                       COLCHESTER, CT 06415


                       SUNGARD AVAILABILITY SERVICES
                       PO BOX 91233
                       CHICAGO, IL 60693


                       SUNGARD AVAILABILITY SERVICES
                       680 E. SWEDESFORD ROAD
                       ATTN: CONTRACT ADMINISTRATION
                       WAYNE, PA 19087


                       SUNTRUST CENTER LLC
                       PO BOX 532900 - DEPT. 12281
                       ATLANTA, GA 30353-2900


                       SUNTRUST CENTER, LLC
                       C/O EQUITY OFFICE
                       200 S. ORANGE AVE., SUITE 2150
                       ORLANDO, FL 32801


                       SUTTLE STRAUS
                       PO BOX 370
                       WAUNAKEE, WI 53597


                       TALEO CORPORATION
                       1010 NORTHERN BOULEVARD
                       SUITE 328
                       GREAT NECK, NY 11021


                       THE DAVID ALLEN COMPANY
                       1674 MCNELL ROAD
                       OJAI, CA 93023


                       THE MIRRAM GROUP, LLC
                       895 BROADWAY 5TH FLOOR
                       NEW YORK, NY 10003


                       THE NEW YORK TIMES
                       PO BOX 7777
                       PHILADELPHIA, PA 19175-7770
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                       THE TRANSLATION DEPT
                       PO BOX 303
                       DEKALB, IL 60115


                       THE TREELINE 189 PARTNERS
                       200 GARDEN CITY PLAZA
                       SUITE 325
                       GARDEN CITY, NY 11530


                       TIFFANY & CO.
                       PO BOX 27389
                       NEW YORK, NY 10087-7389


                       TIGER INFORMATION SYSTEMS
                       OPERATIONS CENTER
                       PO BOX 8500-1206
                       PHILADELPHIA, PA 19178-1206


                       TOM SNYDER PRODUCTIONS
                       PO BOX 34776
                       NEWARK, NJ 07189-4776


                       TREMAIN NELSON
                       17523 KENTON CROSSING LANE
                       RICHMOND, TX 77469


                       U.S. HEALTHWORKS
                       PO BOX 50042
                       LOS ANGELES, CA 90074


                       UINTA BUSINESS SYSTEMS
                       DEPARTMENT 1293
                       DENVER, CO 80291


                       ULTIMUS
                       15200 WESTON PARKWAY
                       SUITE 106
                       CARY, NC 27513


                       UNITED INS. CO. OF AMERICA
                       7674 W. LAKE MEAD BLVD
                       SUITE 104
                       LAS VEGAS, NV 89128
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                       UPS
                       PO BOX 7247-0244
                       PHILADELPHIA, PA 19170-0001


                       V-CUBE U.S.A., INC.
                       879 W. 190TH ST, STE 929
                       ATTN: MASAKO IWATA
                       GARDENA, CA 90248


                       VERIZON ACCESS BILLING
                       PO BOX 1100
                       ALBANY, NY 12250-0001


                       VERIZON CA - (SB)
                       PO BOX 9688
                       MISSION HILLS, CA 91346


                       VERIZON CALIFORNIA
                       PO BOX 30001
                       INGLEWOOD, CA 90313-0001


                       VERIZON FLORIDA
                       PO BOX 920041
                       DALLAS, TX 75392-0041


                       VERIZON NJ
                       PO BOX 4833
                       TRENTON, NJ 08650-4833


                       VERIZON NY
                       PO BOX 15124
                       ALBANY, NY 12212-5124


                       VERIZON WIRELESS
                       PO BOX 489
                       NEWARK, NJ 07101-0489


                       VERIZON WIRELESS
                       ATTN: CUSTOMER SERVICE
                       PO BOX 554
                       WARRENDALE, PA 15086-0553


                       VERIZON WIRELESS - MD
                       PO BOX 17464
                       BALTIMORE, MD 21297-1464
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                       VIP GOLD
                       169 BAY 17TH STREET
                       BROOKLYN, NY 11214


                       VIRTUALEDGE CORPORATION
                       1010 STONY HILL ROAD
                       YARDLEY, PA 19067


                       VOXEO CORPORATION
                       100 EAST PINE STREET # 600
                       ORLANDO, FL 32801


                       WALL STREET JOURNAL
                       PO BOX 7007
                       CHICOPEE, MA 01021-9985


                       WASHINGTON STATE TREASURER
                       PO BOX 9048
                       OLYMPIA, WA 98507-9048


                       WESTIN RINEHART GROUP LLC
                       2001 PENNSYLVANIA AVE, NW
                       SUITE 250
                       WASHINGTON, DC, DC 20006


                       WILSON SONSINI GOODRICH
                       PO BOX 60000
                       SAN FRANCISCO, CA 94160-3672


                       WILSON SONSINI, ET AL.
                       650 PAGE MILL ROAD
                       PALO ALTO, CA 94304-1050


                       WINTER, WYMAN FINANCIAL CONTRACTING
                       PO BOX 845050
                       BOSTON, MA 02284-5050


                       WIRELESS GENERATION INC
                       PO BOX 9178
                       UNIONDALE, NY 11555-9178


                       WITHUM SMITH & BROWN (WS&B)
                       5 VAUGHN DRIVE
                       PRINCETON, NJ 08540
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                       WZAK 93.1 FM
                       2510 ST CLAIR AVENUE
                       CLEVELAND, OH 44114


                       XEROX CAPITAL
                       PO BOX 827181
                       PHILADELPHIA, PA 19182-7181


                       XEROX CAPITAL SERVICES LLC
                       PO BOX 660501
                       DALLAS, TX 75266-0501


                       YARA I ALMA BONILLA
                       URB.HIPODROMO #1464
                       C/LAS PALMAS, APT. 2A
                       SANTURCE, PR 00909-2637


                       YELLOW TRANSPORTATION INC
                       PO BOX 13850
                       NEWARK, NJ 07188-0850


                       YIPES ENTERPRISE SERVICES INC
                       DEPT CH 17502
                       PALATINE, IL 60055-7502


                       YOUNAN PROPERTIES INC.
                       PO BOX 31001-1830
                       PASADENA, CA 91110


                       ZEPHYRHILLS
                       PO BOX 52214
                       PHOENIX, AZ 85072-2214


                       ZERO TO FIVE LLC
                       650 CLOVELLY LANE
                       DEVON, PA 19333
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                                                                  United States Bankruptcy Court
                                                                         Southern District of New York
 In re       Platform Learning Inc.                                                                               Case No.
                                                                                             Debtor(s)            Chapter      11




                                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Platform Learning Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Ascend Ventures, L.P.
 1500 Broadway, 14th Floor
 New York, NY 10036
 Platform Group LLC
 c/o Eugene V. Wade, Jr.
 55 Broad Street, 25th Floor
 New York, NY 10004
 Quad Venture Partners SBIC, LP
 650 Fifth Avenue
 31st Floor
 New York, NY 10019




o None [Check if applicable]




 June 21, 2006                                                               /s/ Eric W. Sleeper
 Date                                                                        Eric W. Sleeper
                                                                             Signature of Attorney or Litigant
                                                                             Counsel for Platform Learning Inc.
                                                                             Herrick, Feinstein LLP
                                                                             2 Park Avenue
                                                                             New York, NY 10016
                                                                             (212) 592-1400 Fax:(212) 592-1500




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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   ---------------------------------------------------------------------X
    In re
                                                                                                    Case No.:

    Platform Learning Inc.                                                                          Chapter 11


                                    Debtor(s)
   ---------------------------------------------------------------------X



                                         DECLARATION RE: ELECTRONIC FILING

   PART I - - DECLARATION OF PETITIONER[S]:
             I [We]          Juan Torres           [and                           ] the undersigned debtor[s],
   hereby declare under penalty of perjury, that the information I [we] have given my [our] attorney and the
   information provided in the electronically filed petition is true and correct. I [We] consent to my [our]
   attorney sending my [our] petition, and the accompanying statements and schedules to the United States
   Bankruptcy Court, the trustee appointed in my [our] case and the United States Trustee. I [We] understand
   that failure to provide the trustee with the signed original of this Declaration Re: Electronic Filing within 15
   days following the date the petition was electronically filed will cause my [our] case to be dismissed
   pursuant to 11 U.S.C § 707(a)(3) without further notice.




    Dated: June 21, 2006


                                                                                                Signed:    /s/ Juan Torres


   PART II - - DECLARATION OF ATTORNEY:
            I declare under penalty of perjury that I have reviewed the above debtor's(s') petition, schedules
   and statements, and to the best of my knowledge and belief, they are true, correct, and complete. The
   debtor(s) will have signed this form before I file the petition, schedules and statements. I will give the
   debtor(s) a copy of all forms and information to be filed with the United States Bankruptcy Court, and I
   will send copies of this declaration, the petition, schedules and statements to the trustee appointed in this
   case and to the United States Trustee. This declaration is based upon all information of which I have
   knowledge.


    Dated: June 21, 2006
                                                                                                Signed:   /s/ Eric W. Sleeper
                                                                                                          Eric W. Sleeper
                                                                                                                 Attorney for Debtor[s]
                                                                                                Herrick, Feinstein LLP
                                                                                                2 Park Avenue
                                                                                                New York, NY 10016
                                                                                                (212) 592-1400


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